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         Exhibit ~ - Cru nine
             Deposition
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                         * * *Videotaped Deposition
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        1                   CERTIFICATE OF REPORTER

        2
            STATE OF NEVADA )
        3                    ) ss:
            COUNTY OF CLARK )


        5            I, Sarah Safier, CCR No. 808, do thereby
            certify:  That I reported the deposition of OE'FICER
        6   TRAVIS CRUMRINE, commencing on Monday,
            December 10, 2018, at 10:09 a.m.
        7            That prior to being deposed, the witness was
            duly sworn by me to testify to the truth. That I
        8   thereafter transcribed my said shorthand notes into
            typewriting and that the typewritten transcript is a
        9   complete, true, and accurate transcription of my said
            shorthand notes. That prior to the conclusion of the
       10   proceedings, pursuant to NRCP 30(e), the reading and
            signing of the transcript was requested by the
       11   witness or a party.
                     I further certify that I am not a relative
       12   or employee of counsel of any of the parties, nor a
            relative or employee of the parties involved in said
       13   action, nor a person financially interested in the
            action.
       14            IN WITNESS WHEREOF, I have set my hand in my
            office in the County of Clark, State of Nevada, this
       15   24th day of December, 2018.

       16



       18                            Sarah Safie   CCR No. 808

       19

       20

       21

       22

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       24

       25




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                                                                     Page 1
     z                  UNITED STATES DISTRICT COURT

     z                       DISTRICT OF NEVADA

     3


     4


     5   TRINITA FARMER,
         individually,
     6
                    Plaintiff,               Case No.
                                             2:18-cv-00860-GMN-VCF
           vs.
     8
         LAS VEGAS METROPOLITAN
     9   POLICE DEPARTMENT, a
                                               CONDENSED
    ~o
         political subdivision of
         the State of Nevada;                  TRANSCRIPT
         KENNETf3 LOPERA,
    11   individually; TRAVIS
         CRUMRINE, individually;
    ~2   MICHAEL IRAN, individually;
         MICHAEL FLORES,
    13   individually,

    14               Defendants.

    is

    16
            VIDEOTAPED DEPOSITION OF OFFICER TRAVIS CRUMRINE
    l~
                   Taken on Monday, December 10, 2018
    is
                               At 10:09 a.m.
    19
                         Taken at Lagomarsino Law
    20
                    3005 West Horizon Ridge Parkway
    21
                                 Suite 241
    22
                          Henderson, Nevada 89052
    23


    24


    25   Reported by:    Sarah Safier, CCR No. 808




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                          Officer Travis Crumrine ~ December 10, 2018
                                 * ~ *Videotaped Deposition
                                                                                                             2 (Pages 2 to 5)
                                                                    Page 2                                                             Page 4

      1    VIDEOTAPED DEPOSITION OF OFFICER TRAVIS CRttMRINE,                    1         THE VIDEOGRAPHER: Good morning. Today is
      z    ralcen at Lagomarsino Law, 3005 West Horizon Ridge                    2    December 10, 2018. The time is approximately
      3    Pazkway, Suite 241, Henderson, Nevada, on Monday,
      4    December 10, 2018, at 10:09 a.m., before Sarah                         3   10:09 a.m. This begins the video deposition of
      5    Safier, Certified Court Reporter, in and for the                       4   TCdvis Cnlmrine.
      6    State of Nevada.                                                       5        We aze located at Lagomarsino Law, 3005 West
      ~    APPEARANCES:
      ~    For the Plaintiff:                                                     6   Horizon Ridge Parkway, Suite 241, Henderson, Nevada
      9         ANDRE M. LAGOMARSINO, ESQ.                                        7   89052.
                DENISE VALDIVIA, Pazalegal                                        $
                                                                                           My name is Cfu'istophei Baugh, court
    io          STEPHAMF. MOORE, Paralegal (Present Te]ephonically)
                Lagomarsino Law                                                   9   videographer with Las Vegas Legal Video.
    li          3005 West Horizon Ridge Pazkway                                  io        This is United States District Court,
                Suice 241
                                                                             ~   1z   District of Nevada, Case No. 2:18-cv-00860-GMN-VCF,
    12          Henderson, Nevada 89052
    13     For the Defendants Las Vegas Mevopolican Police                       12   in the matter of Trinita Farmer versus Las Vegas
           Department, Travis Crumrine, Michael Tran, Michael                I   13   Metropolitan Police Department, et al.
           Flores:                                                               in
    is          CRAfG R. ANDERSON, ESQ.                                                     This video deposition has been requested by
                Margws Aurbach Coffins                                       ~   ~5   attorneys for the plaintiff:
    '- 6        10001 Pazk Run Drive                                             15         Will counsel and all present please state
                Las Vegas, Nevada 89145
    n                                                                            17   your appearances for the record.
           For the Defendant Kennerh Lopes:                                      18         MR. LAGOMARSINO: Andre Lagomarsino, Denise
    1e                                                                           19   Valdivia foc the plaintiffs. Also present, Trinita
               DANIEL R. MCNUTT, ESQ.
    ~~         McNutt Law Firm, P.c.                                             20   Farmer and Marjorie Day.
               625 Souk, Eightta Sneet                                           21        MR. NICNUTT: Dan McNutt on behalf of Officer
    20         Las Vegas, Nevada 89101                                           ~2   Ken Lopera.
    Zi     Also Present:
    z2         CHRISTOPHER BAUGH - Videographer                                  23        MR. ANDERSON: Craig Anderson on behalf of
    23         TR[NITA FARMER                                                    ~4   the Las Vegas Metropolitan Police Department,
    Z^         MARJORiE DAY
    25                                                                           25   Officers Crumrine, Tran and Flores.


                                                                    Page 3                                                             Page 5

                         INDEx                                                    1         MR. LAGOMARSINO: Also, sorry, present on
     2
           witness: OFFICER TRAVIS CRI7[vIIitNE                                   Z   the telephone is Stephanie Moore, paralegal.
     3                                                                       i    3         TIDE WITNESS: Travis Crumrine.
                      Examination Further Examination
     5                                    t~9, isz                           ~    4         THE VIDEOGRAPHER: The deponent may now be
           By Mr. Lagomarsino     s
           By Mr. Anderson      t58                                          ~    5   sworn in by Sazah Safier with All-American Court
     6     By Mr. McNutt       164        181                                     g
                                                                                      Reporters.
     e                 EXHIBITS                                              i    ~   Whereupon --
     ~     Plaintiff                       Page                                   8             OFFICER TRAVIS CRUMIZINE
    io      1 -Videotaped Deposition Transcript of            40
               Sergeant Travis Ciumrine - 12/27/17                                9   being first duly sworn to tell the truth, the whole
    ~1                                                                           i~   truth, and nothing but the truth, was examined and
            2 -Las Vegas Metropolitan Police             81
    iz         Department Statement of Sergeant                                  11   testified as follows:
               Travis Crumrine - 5/14/17                                         12                  EXAMINATION
    i~
            3 -Las Vegas Metropolitan Police             110                     13   BY MR. LAGOMARSINO:
    14         Department Voluntary Statement of                                 19    Q All right. Can you please state your name
               Sergeant Travis Crurttrine - 5/14/17                              1s
    1s                                                                                and spell your last name for the record.
            4 - Forec Investigation Team            t l0                         16     A Travis Crumrine, C-R-U-M-R-I-N-E.
    i6         RepoNtn-CusrodyDeath
    ~~      S - 5/17lt7 New York Times Article           iza                     17     Q F-Iave you ever had your deposition taken
    1e      6 - U.S. vs. Mendenhall case/Wesdaw          t31                     18   bCfOie?
    i9      7 _Barnard vs. Theobold case/WesNaw           135                ~
    20      8 - 5/23/1 !Las Vegas Sun Article          139                       1g     A    YCS.
    2~      9 - Administrative Leave/Relief of Duty      142                     2o     Q   On how many occasions?
               Notice                                                            zz
    ZZ                                                                                  A At least one, maybe two or three. It's been
           l4 -Return From Relief of Duty Notice              144                2Z   a whi18.
    23
            t t -Training Ftiseory                146
                                                                                 23      Q All right. So one of the cases is the case
    z4                                                                           24   brought by the children, and it's related to Tashii
           12 - LVNR Restraint Video                    l58
    ZS                                                                           zs   Farmer, correct?




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                          * ~ *Videotaped Deposition
                                                                                                3 (Pages 6 to 9)
                                                    Page 6                                                            Page 8

     1       A Correct.                                               ~     "Is that a yes or is that a no?" I'm not hying to
     2       Q When was that deposition taken? Do you                 2     be nzde. I'm just hying to make a clean record.
     3    recall?                                                     3     Okay?
     4       A I believe December of last year.                  ~    q        A Okay.
     5       Q What did the other cases involve?                 ~    S        Q At the temvnation of this deposition, you
     6       A Oh, gosh, I think there was like a child          j    6     will have an opportunity to review your transcript
     ~    custody dispute, and I think the other one was a bar   I    ~     and make any potential changes. If you make changes
     8    fight. IPs been years ago.                                  e     of an important nature, it could be commented on at
     9       Q Were they in your capacity as a police                 9     trial as to your credibility. Do you understand?
    to    officer?                                                   10        A Yes.
    11       A 1'es.                                                 1~        Q We're going to be going for quite a while
    lz       Q Have you ever been sued before?                       1z     today. Sometimes T'm a low talker ox I mumble. If
    13       A Yes.                                                  13     you don't understand my question, please tell me and
    14       Q On how many occasions?                                14     I'm happy to rephrase it, Okay?
    1s       A One.                                                  i5        A Okay.
    i6       Q And relating to this case?                            i6        Q If you don't te11 me to rephrase, I'm going
    1?       A This and one other.                                   17     to assume that you understand the question as asked.
    lg       Q And what was the other case?                          18     Is that okay?
    19       A It was a professional gambler suing Caesars           19        A Yes.
    zo    palace and the police department for -- over an            20        Q If you ever need a break, just please let me
    21    arrest.                                                    21     know and we'll take a break. Okay?
    22       Q And when did that take place?                         z2        A Yes.
    23       A In Mazch of 2008.                                     23        Q 'You know the difference between a guess and
    24       Q Okay. Who is the plaintiff in that case?          I   2~     an estimate?
    25       A Lori Tessau or Lori Chang.                            25        A Yes.

                                                    Page 7                                                            Page 9
     1        Q And what were the allegations against you in            1      Q So you're allowed to estimate today, but
     2    that case?                                                    2   don`t guess. All right?
     3        A I believe it was kidnapping, false arrest,              3       A All right.
      4   stuff like that.                                              4      Q All right. From time to time, your lawyers
     5        Q And do you know if that case was dismissed?             5   or your lawyer here will be making objections. T'm
     6    Was it resolved?                                              6   assuming he is not doing it to be obstructive, and
     ~        A It went to the Ninth Circuit, and they found            ~   there's not a judge here to rule on it, but I'd ask
     $    in our favor.                                                 g   that you allow him to finish his objection, and if
     9        Q Okay. All right. You understand that                    9   you understand the question, go ahead and answer it.
    io    you're sworn to tell the truth today?                      io     Okay?
    11        A Yes.                                             ~   '- ~       A Okay.
    12        Q That although we are in a conference room in         ~2        Q Are you on any medications that would
    13    an informal setting, the oath that you took is the         13     prevent you from giving your best testimony today?
    ~4    same oath that you would take in a court of law?           14         A No.
    1s        A Yes.                                                 15        Q Let's go into your educational history.
    16        Q Although we have a videographer here, the            ~s     Where did you go to high school?
    17    official record is the court reporter`s record. So         i?         A Quincy Senior High School in Quincy,
    1a    it's difficult for her to take down two people             18     Illinois.
    i9    talking at once. So I'd ask that you allow me to           i9        Q And what year did you graduate?
    20    finzsh my question, and I will allow you to finish         20        A 1998.
    21    your answer, if that's okay.                           ~   21        Q Did you obtain any degrees after high
    z2        A Yes.                                             ,   22     school?
    z3        Q In that regard, body language can be                 23        A No.
    z4    difficult to take down on the transcript. As are           24        Q Did you go to school after high school?
    z5    "uh-hubs" and "uhm-unns." So if I prompt you to say,       25        A Yes.



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                   Officer Travis Crumrine ~ December 10, 2018
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                                                                                             4 (Pages 10 to 13)
                                                   Page 10                                                            Page 12

     1       Q Where did you go?                                        1       Q Would you conduct proactive police activity?
     2       A John Wood Community College and North                     ~      A Yes.
     3    Eastern Illinois University.                                   3      Q What is that?
     4       Q And was that just general studies?                        S      A Gosh, stop traffic violators, make person
     S       A Criminal justice.                                         5   stops.
     6       Q And how long did you go to Northeastern?                  6      Q Would you patrol mostly the Strip?
     ~       A Until 2003 or 2004.                                '     '       A Included the SUip, yes.
     e       Q So you went to John Wood, and -- I'm sorry,               8      Q That area south of the airport?
     9    and then you went to Northeastern after that?                  9      A Yes.
    to       A I transferred to Northeastern, yes.                '   10        Q How long were you in that position?
    11       Q Did you graduate from Northeastern?                '   11        A Until November of 2008. When they opened
    lz       A No.                                                    1z     the Convention Center Area Command, I transferred
    13       Q When did you leave Northeastern?                   j   13     there, which focused more on just the Strip.
    i4       A It was either 2003 or 2004, and then I             j   14        Q Where is the Convention Area Command
    is    entered a police academy there.                             15     located?
    16       Q When did you move to Vegas?                            16        A That's at Siena Vista and Swenson.
    17       A In August of 2005.                                     17        Q And did you subsequently become a detective?
    18       Q And why did you move to Vegas?                         z8        A I did.
    19       A For the police, for the job.                           '- 9      Q And when did that occur?
    20       Q Had you had any other taw enforcement                  20        A April ox May of 2012.
    21    training before working with Metro?                         2i        Q Did you have to take a written exam?
    zz       A Yes.                                                   22        A No.
    23       Q And where did you work?                                23        Q Take an oral board?
    z4       A I attend -- I worked for the Chicago                   29        A Yes.
    25    Department of Aviation Speciai Police Unit, and I           ?5        Q What's an oral board?

                                                   Page 11                                                            Page 13

     1    attended the Cook County Sheriffs Police Academy.       ~    i        A An oral board is an interview consisting of
     z       Q Okay. Did you have any complaints against          i    z     toughly 10 or 15 questions, basically to gauge your
     3    you in your positions with those entities?                   3     knowledge of the bureau that you're trying to test
      4      A No. Basically, as soon as I finished the           i    4     for.
     5    academy, I got the job offer here, so I never really         5        Q Do you recall who was on your board that was
     6    worked very much there.                                      6     asking you questions?
      ~      Q Did you attend the police academy for Metro?            7        A Oh, gosh, I don't.
     e       A Yes.                                                    6        Q Did your responsibilities change when you
     9       Q When were you commissioned as a police                  9     became a detective?
    io    officer?                                                    to        A Yes.
    i1       A February 8, 2006, I believe.                           ~1        Q How did they change?
    72       Q And what was your first position with Metro?           12        A I was a detective in the vice unit, and I
    i3       A Patrol officer at South Central Area                   13     was responsible for investigating vice-related crimes
    14    Command.                                                    14     like prostitution.
    1s       Q And what azeas of Vegas does South Central             15        Q At some point, were you layer promoted to a
    16    Area Command cover?                                         16     sergeant?
    1~       A At that time, it covered everything fronn              1~        A Yes.
    18    Sahaza to the north, basically St. Rose Pazkway to          18        Q When were you promoted to sergeant?
    19    the south, I-15 to the west, north of the airport the       19        A August, I think, 27th of 2d 16.
    20    boundary would be Maryland Parkway, and south of the        20        Q And did you take a written exam?
    zz    airport the boundary on the east side would be              21        A Yes.
    22    Eastern.                                                    22        Q What did you do to prepare for today's
    23       Q What were your responsibilities as a patrol            23     deposition?
    z4    officer?                                                    24        A Consulted with my attorney, reviewed the --
    zs       A Respond to calls for service.                          25     the subpoena you gave me.



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                                                                                                5 (Pages 14 to 17)
                                                 Page 14                                                                  Page 16

     1      Q Did you review any videos?                        i            1      A Yes.
     2      A Specifically fox this, no. I mean, I've                        z      Q What's the practical exam. consist of?
     3   watched the video plenty of times.                     I            3      A The practical exam consists of several
     ~      Q Have you watched videos from other officers'                   4   scenarios. It's usually like a squad briefing
     5   body cams?                                                          5   scenario where you brief your squad on the plan for
     ~      A Other than myself and Officer Lopera, Y                        h   the day. T believe there was a diversity complaint
     ~   don't Imow that I have.                                             ~   scenario between two officers. We have to intervene
     A         MK. LAGOMA.RSINO: Did you guys produce the                    $   and mitigate a diversity complaint. And there was a
     9   other officers' body cams or body cam in this case?                 9   tactical scenario where you respond as a sergeant to
    io         MR, ANDERSON: I think so. If we haven't,                     10   a dynamic incident.
    ii   we will.                                                           11      Q What do you mean intervene and mitigate in a
    12         MR. LAGOMARSTNO: Okay. It's requested. I                     12   diversity scenario?
    13   saw that you gave a split screen on the LVNR                       13      A This one specifically was you're in the next
    14   training, but maybe I didn't look hazd enough, but I               i4   room and you hear two officers in the locker room
    is   didn't see any body cam footage.                                   is   start arguing, and one of them tells the other one
    i6         MR. ANDERSON: Yeah, I'll get that to you.                    16   that he is going to get him a subscription to the
    i~   BY MR. LAGOMARSINO:                                                i'   AARP magazine. And so you have to stop it -- and
    i$      Q So I apologize. So to become a sergeant,                      i6   obviously iYs an ageism --
    i9   you have to take a written exam?                                   ~9      Q Right.
    20      A Yes.                                              I           20      A -- issue --and investigate, find out
    2i      Q Do you know how many questions?                   ~           z1   whether the subject officer has had a previous
    z2      A It's 100 questions.                               j           22   history oY'compiaints or anything of that nature, and
    z3      Q Multiple choice?                                              23   then find out if your victim officer wants to proceed
    24      A Yes.                                                          2~   with a complaint.
    25      Q And so I'm assuming you passed?                       ~       z5      Q What was the dynamic situation that you had


                                                 Page 15                                                                  Page 17

     1      A Yes.                                                           1   to --
     2      Q What score do you have to attain to pass?                      z      A It was a -- what we might call an open azea
     3      A I believe they take the top -- iYs either                      3   barricade. It was a guy in a vehicle threatening to
     4   the top number of scores out of the number that                     4   commit suicide with a fireazm.
     ~   people that test or the top 10 or 20 percent or                     5      Q What were yourjob responsibilities as a
     6   something. So the cutoff ranges depending on how                    6   sergeant?
     ~   high the scores aze.                                                ~      A To supervise a squad of officers in patrol,
     8      Q Okay. Kind of like a bell curve?                               e   responding to calls for service.
     9      A Yeah.                                                          9      Q Was the Venetian Hotel in the Convention
    to      Q Dad you receive, like, a study manual fox                     z0   Center Area Command?
    11   that exam?                                                         11      A Yes.
    12      A Xou receive a list of policies and other                      i?      Q Would you conduct roll call?
    13   books to study.                                                j   13      A Yes.
    14      Q So if I wanted to request a copy of your                      14      Q Did you conduct something called a "midnight
    1s   exam, do you think I'd be able to get it?                          15   briefing"?
    16         M12. ANDERSON: Objection to fornn.                           16      A Safe Strip briefing, yes.
    17         Go ahead.                                                    17      Q What is that?
    16         THE WITNESS: Maybe.                                          1e      A So Safe Strip was a program that we ran for,
    19   g~S' MR. LAGOMARSTNO:                                              19   gosh, probably about a decade where on Friday and
    20      Q Who provided you with the materials?                          20   Saturday nights between roughly Memorial Day and
    21      A Human resouz'ces.                                         i   21   FIalloween we would have extra officers supplementing
    z2      Q So I'm assuming human resources has those                 ~   22   the Strip for patrol. And they would walk foot
    z3   materials today if we requested them?                              23   posts; they would be assigned to specific hotels.
    24      A I'm sure they do.                                             z4   Originally, we did that with -- by taking two
    z5      Q Was there also a practical exam?                              25   officers from every other azea command and bringing



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                                                                                                6 (Pages 18 to 21)
                                                    Page 18                                                              Page 20

       1   them down to the Strip. Later on, it was decided                  1       Q Did you change squads on or about
       Z   that they would add more officers to Convention                   ~   March I I th?
       3   Center so that we could do Safe Snip as a station                 3       A Yes.
       4   and not have to take fzom the other commands.                     4       Q Okay. So going back to when you became a
       5         So, yeah, it's basically roughly 30 officers                ~   sergeant, I believe you said August of 16?
       6   on Friday and Saturday nights between midnight and                6       A Uh-huh.
       ~   6:00 a.m. walking foot posts at hotels.                           ~       Q How many times did you change squads between
       8     Q All right. Who was your lieutenant when you                   $   then and May 14th of 2017?
       9   were a sergeant at the Convention Center Area                     9        A So just rivo. 1 was assigned to patrol
    '- 0   Command?                                                         10   squad. Then I got bwnped to day shift, I believe; in
    zl       A I had four lieutenants during my time at                     1i   January of 17, and then I got that particular squad
    =2     Convention Center --                                    ~        i~   on March 1 lth.
    13        Q All -- sorry. I interrupted you.                            13       Q Okay. When did you start supervising
    14        A No, you're fine.                                            14   Kenneth Lopera?
    is        Q Ali at the same time?                                       1~        A March 1 lth.
    16        A No. Just throughout the eight months or            ~        ~6        Q And that's Mazch 11th of'17?
    i7     whatever that I was there, it switched four times.      ~        i~        A Correct.
    i$        Q Okay. Who were the lieutenants?                             ~e        Q Did your responsibilities change when you
    19       A Lieutenant Ray Spencer, Lieutenant Kristine         ~        ~9   changed squads?
    zo     Buist, Lieutenant Richazd Maupin, and then Lieutenant   I        Zo        A Yes.
    21     Steve Summers.                                          ~        21        Q And how did they change?
    ZZ        Q Who was your lieutenant at the time of the         ~        22        A So the new squad starting March 1 lth was a
    z3     Tashii Fanner incident?                                 j        ~3   flex squad, which is a squad that's primarily
    24        A Steve Summers.                                              24   supposed to be a proactive squad on the Strip, and
    25        Q And is that S-O-M-M or S-U-M-1V1?                           25    it's also responsible for doing the Safe Strip.


                                                    Page 19        i                                                     Page 21

     i        A S-U-M-M-E-R-S.                                     '         1      Q And when you say proactive on the Strip,
     z       Q Do you remember the date of the incident                      z   what do you mean?
     3     with Tashii?                                                      3      A So they're not primarily responsible for
     4        A Was it May 14th or 15th?                                     4   responding to regular patrol calls. The in-custodies
     5       Q I'tl represent it was May 13th and 14th.                      5   at the casinos, and so hot calls that come out, you
     6        A 13th and 14th. Okay.                                         6   know, 911 calls, emergency, what we call priority
     ~       Q I guess that shi$.                                            ~   zero calls where iYs a crime in progress, violence,
     e        A Okay.                                                        8   life safety.
     9       Q May 14th was Mother's Day. Do you recall                      9      Q Would you also deal with quality-of-life
    to     that?                                                            10   issues?
    11       A Vaguely.                                                'I   11      A Yes.
    12        Q What time would your shift have started?                    12      Q What are quality-of-life issues?
    13       A 8:00 p.m.                                                    13      A Homelessness, street-level prostitution,
    14        Q And would it have ended at six?                             z4   street-level narcotics.
    is        A Yes.                                                   ~    15      Q Traffic?
    1s        Q Were you on a -- like, four l Os per week?             ~    16      A Yes.
    ~~        A Correct.                                                    1~      Q Pedestrians?
    z8        Q What were your days off?                                    18      A Yes.
    19       A We were off Tuesday night, Wednesday night                   19      Q On the shift of May -- we'll just call it
    20     and Thursday night.                                              20   May 14th. I'm --
    zl        Q At some point, did you change squads?                       21      A Yeah.
    22        A I changed squads -- during my time as a                     22      Q -- saying, like, May 13th to 14th -- how
    23     sergeant?                                                        23   many officers were you supervising that night?
    24        Q Yes.                                                        24      A I think we tried to estimate this last time.
    25        A Several tunes.                                              25   So I had 12 assigned to me, and I'm not sure if all



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     1   12 were there that night. The other squad sergeant           1   system, iYs leaps and bounds better than the --the
     2   was off, and he had -- I believe he had 16 officers          2   one before.
     3   assigned to him, but I want to say that there were           3      Q And so at some point, you were dzawn to the
     4   five or six off.                                             4   Venetian, correct?
     5          So roughly 23 from those two squads, and              S      A Yes.
     6   then there may have been some overtime folks, four or        6      Q And how were you drawn to the Venetian?
     7   five, six maybe. So possibly up to 30.                       ~      A So I heard the gazbled radio tr~c. I was
     $      Q All right. Was Officer Lopera under your                g   in my car. 1 was roughly at Sands and Howazd Hughes
     9   supervision that night?                                      9   or between Howazd Hughes and Koval. The dispatcher
    to      A Yes.                                                   10   can tell when you key your radio what unit's keying
    1i      Q And what about Officer Tran?                           i1   their radio. So I don't know if the dispatcher heazd
    1z      A Xes.                                                   12   him -- heazd or to make out what he said or could
    13      Q Was Officer Tran normally on your squad?           I   13   tell by the radio ID, but she knew it was Venetian
    14      A No. He was on the other squad. His                     14   ]'s call sign, so she gave a code red to Venetian 1.
    is   sergeant was off.                                           1S      Q And what does code red stand for?
    16      Q And was Officer Flores usually on your                 16      A A code red means that an emergency exists on
    1~   squad?                                                      1~   the channel and whoever the code red is for, the
    1a      A No.                                                    1B   radio channel is theirs to broadcast traffic.
    19      Q Was that the fust time you had supervised              19   Everyone else stays off the radio so they can get out
    20   those individuals that night?                               20   their emergency traffic.
    z1      A No.                                                    z1      Q As part of your job patrolling the Strip, do
    zz      Q How many times did you supervise those                 22   you have to sometimes deal with intoxicated
    z3   individuals?                                                23   individuals?
    24      A That would be hard to say. I mean, I think             ~4      A Yes.
    ~5   we worked -- our quads worked together two nights a         2'      Q Do you sometimes have to deal with

                                                  Page 23                                                          Page 25
                                                                 i
     1   week, and their sergeant was far more senior to me.          1   individuals who you believe to be high on narcotics?
     z   So it's quite likely he took more nights off where I    ~    2      A Yes.
     3   would have covered.                                     ~    3      Q Are you a drug recognition expert?
     4      Q Why did more senior sergeants take more                 A      A 1Vo.
     5   nights off?                                                  5      Q Have you ever had in your career, before May
     6      A They accrue more time as you get more time              6   of 2017, had individuals run from you that are
     ~   on the job.                                                  ~   intoxicated?
     e      Q Okay. Officer, is it -- how do you                      e      A Yes.
     9   pronounce her name, Lif?                                     9      Q Does Metro have policies on pedestrian
    Lo      A Lif.                                                   10   pursuits?
    zz      Q Was she under your supervision and control             11      A Yes.
    12   as well?                                                    12      Q If an individual starts z~wuaing from you for
    13      A Yes.                                                   ~3   no reason, do you start chasing that individual?
    14      Q Do you remember getting a call from the                14      A T believe the policy says when running is
    is   Venetian in reference to this incident?                     15   the sole justification for the pursuit that we do
    16      A We did not get a call from the Venetian.               16   not --
    17      Q Do you remember getting a call referencing             17      Q Okay.
    la   the Venetian pertaining to this incident?                   18      A -- or should not.
    i9      A The first anyone ever heard of the call was            19      Q So that evening did you conduct a Safe Strip
    20   garbled radio traffic.                                      20   briefing?
    21      Q So were there problems with the radios at              21      A Yes.
    22   that time?                                                  22      Q Tell me about what a Safe Strip briefing is
    z3      A Not particularly. There are issues with the            23   like.
    Z4   radios when you get deep into the hotels that -- with       z4      A Mostly in a Safe Strip briefing, especially
    zs   signal penetration. But with this current radio             25   with the squad being specifically assigned to do



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      i    it -- back in the day when we used to bring in two      I    1   posts and check on them. If they're on a stop, back
      2    officers from every -- like Noah's Axk, we had to            2   them up, stuff like that.
      3    give people more instruction on, this is what you            3      Q From time to time, would you go to the
      4    need to do, don't be hiding in the back of the               4   Venetian?
      5    casino, don't take three lunch breaks. But officers          5      A Yes.
      6    that are specifically working this, they know most of        6      Q That evening, Officer Lopera and Officer
      ~    the rules, so it's really just assigning people              ~   Lif, I understand, were getting coffee.
      8    properties, anything from our normal briefing, like          e      A tJh-huh.
      9    be on the look out for so-and-so or, yov know,               9      Q Does the Venetian provide free coffee to the
     10    Bellagio is having a problem with homeless guys             10   officers?
     it    swimming in the fountain or something, just general         11      A If they went to the EDR, yes.
     1z    information. Tt's mostly just assigning officers to         ~2      Q Anywhere else in the Venetian where you get
     13    properties.                                                 13   free coffee?
     14        Q How long does that usually take, that                 1~      A Not as a rule. I mean, when you go get
     is    briefing?                                                   ~S   coffee at places, it's kind of hit-and-miss.
     16        A 10 to 15 minutes.                                     i6   Sometimes people give you free coffee.
     17        Q And did the lieutenant help you with that             i~      Q All right. Tn terms of the squads you were
     18    briefing that night?                                        1e   supervising that evening, which properties did your
     19        A Yes.                                                  19   squad have responsibility for that evening?
     20        Q And who is that?                                      20      A My recollection was probably better a year
     21        A Steve Summers.                                        2~   ago when we went over it, but -- so all in afl
     2z        Q Was there a.fso a sergeant working overtime           22   between my squad and my sister serg~:ant's squad,
     23    that night?                                                 23   we've got everything from Tzopicana, New York New
     24        A Yes.                                                  z4   York, I believe MGM, it would be CiryCenter, Cosmo,
     25        Q And was that Bil( Jones?                              25   Bellagio, Paris, Bally's, there's a Hawaiian

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       1      A I believe so.                                           1   Marketplace.
       2      Q So Mr. Summers would have -- oz Lieutenant              2      Q Treasure Island?
       3   Summers would have been your supervisor?                     3      A Treasure Island, Mzrage, I-tarrah's, Flamingo,
       A      A 'Yes.                                                   4   all the way up --you've got Venetian, Palazzo, Wynn,
       5      Q Did he arrive at the scene at the Venetian?             5   Encore. I think that was about where it ends.
       6      A Yes.                                                    6      Q Flow many officers are assigned per property?
       ~      Q When did he arrive?                                     ~      A Two.
       e      A It was pzetty quick, because I know he was              $      Q And where are they usually working?
       9   on -- we had a fatal wreck in front of the Flamingo.         9      A Most of their tune is going to be spent out
     io    A guy had a heart attack while driving his car and          10   on the sidewalk on the boulevard in front of that
     1~    crashed into the sidewalk on the Flamingo side of--         it   pzoperty.
     12    or, sorry, on the Flamingo side of Cromwell, and he         1z      Q Why is that?
     13    was on scene on that when this happened. I called           13      A Because that's where we see most of our
     1^    him on the phone within a couple of minutes, and I          14   disturbances, your intoxicated individuals, your
     is    said, "Hey, I'm pretty sure I'm an involved officer,        15   homeless folks, prostitutes. If security has someone
     1s    so I need you over here."                                   16   in custody, then they're going to go ahead and call
     '-~      Q Did he come over?                                      17   311 and probably a normal patrol officer is going to
     18       A Xes.                                                   18   respond if it's static. Tf security has something
     19       Q How long did he stay at the scene?                     i9   more dynamic going on and the person is not in
     zo       A Hours.                                                 20   custody, then they might call the officers into the
     zl       Q Okay. Did you receive a specific assignment            21   hotel to -- to handle it.
     22    that evening?                                               22      Q As part of your job, do you tend to see
     23       A My specific assigrunent is to supervise al]            z3   individuals who appear to be intoxicated --
     z°    those officers on Safe Strip. So basically C just           24      A Yes.
     zs    bounce around from one pair to the next on their foot       25      Q -- on the Strip?



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      1      A Oh, yes.                                             1       competitively in jujitsu?
      z      Q And do you typically arrest individuals who          2          A No.
      3   appear intoxicated on the Strip?                       i  3          Q Did you learn that subsequent to this
      4      A No.                                               , 4        incident?
      5      Q Why is that?                                      i  5             MR. MCNUT"I': Objection. Form.
      6      A Because mere intoxication is not a crime for      ~  6             THE WITNESS: I knew that he did, like,
      ~   us.                                                    ~  ~       jujitsu training. This is the first I've heazd that
      e      Q All right. [t's my understanding that                e       he ever competed competitively in jujitsu.
      9   initially, Officer Lif and Officer Lopera were            9       BY MR. LAGOMARSINO:
     io   assigned to the T-Tawaiian Marketplace; is that          10          Q Did you know that he had jujitsu training
     1i   cosect?                                                  11       prior to the night of the incident?
     1z      A Correct.                                            12          A No.
     13      Q And then at the last minute, you texted them        13          Q Had you ever socialized with him at any
     14   and told them to move to the Venetian?                   14       point before the night of the incident?
     1s      A Yes.                                                i5          A No.
     16      Q Why did you move them to the Venetian?              i6          Q When somebody calls a code red out, does
     17      A Because the other squad that had 16 officers        i~       that mean that there's an emergency on that channel?
     ~e   on paper, they had five or six off, and X was just       1e          A Yes.
     19   shuffling people around, no real rhyme or reason for     ~9          Q Does that mean that people should try to
     2~   it. But Iput -- I think I put one of -- so T think       2°       avoid being on that channel if at all possible?
     2i   I had an odd number that night, and I put my odd man     z1          A Yes. Do you want a clarification?
     22   out with an overtime guy who was at the Mazketplace      22          Q Sure.
     23   and then moved them to the Venetian. Not really any      23          A The only reason to break that code red if
     24   specific chyme or reason.                                24       you're not the person who the code red is for is if
     ZS      Q Did Officer Lopera typically patrol the             zS       you have duect information about whatever that code

                                                  Page 31        i                                                   Page 33
      i   Venetian?                                                    1    red is for.
      2     A No.                                                      2       Q Thank you.
      3     Q Do you know if he had ever patrolled the                 3          So you started heading foz the Venetian.
      4   Venetian before that night?                                  `'   Why?
      5     A I don't know.                                            5       A Well, since the dispatcher called out that
      6     Q If I represent to you that in your previous              6    it was a code red for Venetian 1, I can assume that
      7   deposition you testified that you were pretty sure           ~    they're on the Venetian property. So we weren't
      8   that he had not patrolled the Venetian before that           e    getting any response from them when she's calling out
      9   evening, would you rely on that representation?              9    for them for a better location, so I needed to start
     1o      A Yeah. I guess specifically, I`m pretty sure           io     heading to the property, like every one of the
     li   that I hadn't assigned him to a Safe Strip spot at         i1     officers who would be responding would, to start
     12   the Venetian. I'm not sure. He had never gone on a         12     searching for him.
     13   call there.                                                13        Q What are some examples of code red
     14     Q Okay. Thanks for that clarification.                   14     emergencies?
     is          Was it your understanding that he would not         15        A Generally, it's officer's in a fight,
     16   be knowledgeable about the different aspects of the        16     officer's in a foot pursuit, officer's got somebody
     17   Venetian?                                                  i~     not complying with their orders.
     le      A Yeah. I mean, he had only been assigned to            '-8       Q Is that what you took it to mean?
     19   that azea command for roughly two months at that           19        A Yes.
     zo   point.                                                     20        Q One of those options?
     2i     Q T-Tad you ever had any interaction with                21        A I'es.
     ZZ   Officer Lopera before you became his sergeant?             2z        Q Did you know where to go in the Venetian
     23      A Other than calling him to ask him if he               23     property?
     Z4   wanted to come to that squad, no.                          24        A No.
     25      Q Were you aware that he'd competed                     25        Q So how did you happen upon Officer Lopera?



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     1       A So when she called out that code zed and               1   that -- did he soil himself in a fight.
          she's asking for location, I was sitting, I think,          2      Q Did you Later learn that he fell in some
      3   with my lights on in the intersection of Sands and          3   water or soap?
      4   ICovai. And correct me if I'm wrong, ii's about five        4      A Yes.
      5   minutes to 1:00 in the morning on a Saturday night,         5      Q So you parked the car?
      6   so Las Vegas Boulevard is generally pretty packed      ~    6      A Yes.
      ~   with pedestrian and vehicle traffic So generally I          ~      Q You get out of the car?
      $   would assume that they're going to be out on the       ~    8      A (Witness nods head.)
      9   sidewalk on the boulevard. However, to come out and         9      Q What do you do next?
     to   try to make a left to go south on the boulevard to     i to        A Immediately jumped out, ran up, and as I'm
     11   then make another left to get in front of the          ~ 11     running up, Lopera is putting Farmer into a neck
     12   Venetian is going to take some time, even rolling          12   restraint, back lying. And as I ran up, they were on
     13   code, because you may just get stuck.                      13   kind of their right-hand sides facing the little
     14         So I made a decision to go through the back,         14   Jersey wall, and I grabbed Fazmer's left arm.
     ~5   which is usually faster. So as I came up the               is      Q And why did you grab his left arm?
     is   easdwest service drive, that's where I found them.         16      A To put a handcuff on him.
     17      Q At some point, you stopped your car,                  17      Q And did you get the handcuff on him?
     1$   correct?                                                   18      A Not immediately.
     19      A Yes.                                                  19      Q How long did it take you to get the handcuff
     Zo      Q Were you by yourself?                                 20   on him?
     zL      A Xes.                                                  21      A My best estimate, five or ten seconds, I
     22      Q And were you communicating with anybody               ZZ   think.
     z3   regazding this incident on your way there?                 z3      Q When you were approaching Officer Lopera and
     29      A No.                                                   2~    Tashii, could you see what Tashii was doing?
     ZS      Q When you stopped your car, approximately how        i 25      A No.                            —-

                                                   Page 35 ~                                                       Page 37

      ~   faz were you from Officer Lopera?                    i    ~        Q And when you drove up, could you see what
      2      A Three or four blocks.                                2     Officer Lopera was doing?
      3      Q Okay. Well, when you got to the Venetian, I          3        A No.
      4   guess, and you saw Officer Lopera, you parked your ~      4        Q Did you ever see Officer Lopera strike
          car, correct?                                        ~    5     Tashii?
      6      A, yes.                                           ~    n        A No.
      ~      Q How far away did you park your car from          j   ~        Q Did you team later that Officer Lopera
      8   Officer Lopera?                                      ~    e     struck Tashii with his fist?
      9      A 30 to 50 feet probably.                              9        A Yes.
     io      Q And did you park in the drive?                      10        Q And did you ever see Officer Lopera tase
     11      A Right in the middle of the road, yeah.              il     Tashii?
     lz      Q Okay. Did you have your lights on?                  12        A No.
     13      A Yes.                                                13        Q Did you later learn that ha did tale Tashii
     i4      Q As you're driving up, did you see Officer           14     several times?
     is   Lopera and Tashii on the ground?                         is        A Yes.
     is      ~ yes.                                                16        Q When you came up to the scene and up to
     17      Q And what did you see?                               17     Lopera, was his trier holstered?
     is      A As I drove up, what I could see was Officer         1e        A I don't remember.
     i9   Lopera on the ground with his feet, butt, back to me     19        Q It wasn't being used at that tune, correct?
     Zo   and then Farmer was either below or in front of him,     20        A Correct.
     21   behind. I couldn't really see. I mean, I knew there      21        Q Did you notice any evidence of tasering when
     zz   was a person there, but I couldn't really see him      i ZZ     you approached the scene?
     z3   because mostly what I'm seeing is the back of          ~ 23        A No.
     z4   Lopera's body. I remember that his butt and the back     24        Q And what would be some evidence of tasering?
     zs   of his thighs were wet, and I remember thinking          25        A When you deploy a trier, there's like



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       i   confetti that comes out of the cartridge and also the            1       A Correct.
       2   wires, the bazbs.                                        i       z       Q Now, when you came up on the scene, you said
       3      Q After Tashii was released from the neck             ~       3    to Tashii, "Put your fiacking hands behind your back,"
       4   restraint, did you notice evidence -- is It tasing or    j       ~    correct?
       5   tasering?                                                        5       A Correct.
       6      A Tasing.                                             l       6       Q Is it within policy at Metro fo curse at
       ~      Q Did you notice evidence of tasing after he          ;       ~    suspects?
       e   released him?                                             I.     e       A It is, of course, discouraged, but
       9      A Yes.                                                        9    oftentimes using strong language with people gains
     z0       Q And what did you notice?                            !      10    corrapliance where -- and prevents us from having to
     ii       A I'm not sure if it was before or after he           ~      il    use actual physical force.
     1z    told me that he tared him.                                I     12       Q Do you feel like that that agitated Officer
     13       Q Did you actually see the evidence of lasing?               13    Lopera?
     1~       A I do remember seeing one of the barbs in                   ~~           MR. ANDERSON: Objection to form.
     '-=   his -- was it in his back or his front?                         is          "I'IIE WITNESS: No.
     i6       Q How far away were you approximately when you               16    BY MR. T,,AGOMARSINO:
     1%    saw Lopera apply the neck restraint?                            17       Q Once you arrived where Tashii and Officez
     is       A Like I said, 30 to 50 feet.                                1e    Lopera were, that's within three seconds or so,
     19       Q Was there anybody else neazby?                             i9    that's when you saw Officer Lopera start applying the
     Zo       A There were two Venetian security guards.                   20     neck restraint, correct?
     21       Q What were they doing?                                      21       A Roughly.
     22       A As I ran up, they were near Lopera and                     22       Q In your prior deposition, you stated -- let
     23    Farmer. And as I recall, as I approached, they kind             23     me have the Exhibit 1.
     z4    of backed away.                                                 24           (Plaintiffs B~ibit No. 1 was marked
     25       Q At that point in time, were there any other                2~            for identification.)


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      1    police officers present --                                        i   BY MR. LAGOMARSINO:
      2        A No.                                                         2      Q You mentioned earlier that your memory --
      3       Q -- besides Lopera? Sorry.                                    3   strike that.
      4       A No.                                                          4         You had your deposition taken about a yeaz
      5       Q When you approached Officer Lopera and                       5   ago, cosect?
      6    "I'ashii, did you believe that Lopera had Tashii in an            6      A Yes.
      ~    illegal or out-of-policy choke hold?                              ~      Q All right. And you mentioned earlier that
      $        A No.                                                         $   your memory is probably better a year ago than it is
      9        Q Xou have been trained on the LVNR, correct?                 9   today, correct?
     to        A Correct.                                                   10      A Yes.
     11        Q What does LVNR stand for, for the record?                  i1      Q Would having your deposition here from a
     lz        A Lateral vascular neck restraint.                           1?   year ago help to refresh your recollection?
     13        Q If you had seen Lopera putting Tashii in an                i3      A Yes.
     i~    illegal orout-of-policy choke hold, would you have               14      Q Okay. All right. I'rn going to try not to
     15    intervened?                                                      15   make it an onerous task to keep referring to the depo
     16        A Possibly.                                                  16   today, but from time to time I will.
     i~        Q LVNR can be applied with either arm,                       17      A Sure.
     1e    correct?                                                         18      Q If you could please turn to Page 34 of the
     19        A Correct.                                                   19   deposition.
     zo        Q Now, when you saw Officer Lopera restraining               zo       A Okay.
     21    Tashii, did it look tike to you that the front azm               z1      Q So at the top of that page, going back to
     zz    looked like it would be in the position it would be              22   the page before -- so T'm sozry, for the record,
     23    in if it was applying an LVNR?                                 I ~3   Page 33 --you state that you made the comment about
     24        A Yes.                                                     i 24   putting his hands behind his back, and then you said
     z5        Q So you assumed he was applying an LVNR?                  i 25   that you made several other statements and that the



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      1    timeline, I think, that you were referring to was                       1     hear hira say that, I think at least twice, "Is he out
      2    wrong. We do have a timeline, so we will get into                       2     yet?"
      3    that a little bit.                                                      3        A Yes.
      4          But going to the next page, it says:                              q        Q And then a couple of times in the timeline
      5    "What's the next thing you did besides making the                       5     there was references to Tashii gasping. Did you ever
      6    statement that we just talked about? What else did                      6     hear that?
      ~    you do next?"                                                           ~        A No.
      g           It says: "Chronologically, I'm not totally                       8        Q All right. There was some discussion in
      9    sure, but I gabbed Farmer's left wrist --                               9     your prior deposition and your CIRT statement that
     io          "Okay.                                                           10     you were the one who said, "Let him go, Ken."
     z1          "-- to put it in a -- to handcuff.                               i1        A Yes.
     iz           ~~g~ght.                                                        12        Q And were you saying let him go because you
     13           "He pulled it away. He broke my grip. I                         13     were seeing Tashii's constitutional rights gef
     i4    grabbed it again. Got the handcuff on."                    ~           14     violated, or were you simply saying let him go
     is           So the ftrst time you grabbed his hand, he          ~           is     because you wanted to handcuff him?
     16    pulled it away, correct?                                               16           MR. MCNCJTT: Objection. Form.
     i~       A Corcect.                                                          i~           MR. ANDERSON: Objection.
     ie       Q The second time you grabbed it, you were              ~           18           THE WITNESS: I was saying let go because I
     i9    able to get his handcuff on?                                           19     wanted to handcuff him.
     20       A Correct.                                                          20     BX MR. LAGOMARSINO:
     zl       Q Okay. And you were trying to get them both                        zl        Q When was the first tune you checked to see
     22    to roll over to accomplish the handcuffing?                            22     if Tashii was conscious?
     23       A Xes.                                                              23        A When we rolled him back over face up after
     zn       Q ~y~                                                               24      he was handcuffed.
     25       A Well, handcuffs have to go behind Farmer's                        25        Q Do you remember Officer Lopera saying

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      '-   back, and Lopera is covering Farmer's back by being                      1    something like, "Don't grab my fucking legs"?
      2    behind him. So we have to sepazate the two. And the                       2      A Xes.
      3    way that we train is we don't disengage.                                  3      Q Do you know why he was saying that?
      4          I'll give you a pretty long explanation                  ~          4      A I don't know specifically. I can give you
      5    here, but when you do LVNI2, we train to do it by                         5   my best guess.
      6    yourself. So you would have the person, and when you                      6      Q Well, I don't want you to guess.
      ?    go to handcuffthem, you're going to roll them over                        ~      A Okay.
      8    onto their stomach. You're going to decide which                          8      Q After watching the video, are you able to
      9    direction you need to go. You have got your legs                          9   make an estimate as to why he said that?
     io    around the subject.                                                    10        A Yes.
     11          So if I went to turn to the left, I'm going                      ii        Q Okay. And what's That?
     12    to keep my (eR leg around the subject to maintain                      12        A Because it's hard to roll yourself over with
     13    control and not roll over on your own leg. You're                      13     another person and easy to hurt yourself. And you
     14    going to kick the other leg out to push both of you                    14     also have -- you're kind of like a turtle when you
     is    over to tum the person onto their stomach, and then                    15     have your vest on and all your gear on your belt, and
     16    bring thew hands behind their back. Now you have                       16     so it's not exactly easy to do and needs to be slow
     17    broken away from them and handcuffed them.                             '- ~   and methodical to prevent injury to everybody.
     ~e       Q Okay. Have you ever been diagnosed as                             i$        Q Was somebody on his legs at the time, or was
     19    having -- being hazd of heazing or being deaf or                       L9     he just kind of giving a warning?
     zo    anything like that?                                                    20        A Officers Tran and Flores were down towards
     zl       A No.                                                               21     the legs at that time.
     2~       Q Do you recall Officer Lopera asking a few                         2z        Q Now, at the time you rolled him over, Tran
     z3    times whether Tashii was out?                                          23     and Flores had already arrived, correct?
     24       A I don't.                                                      ~   24        A Yes.
     25       Q Later when you watched the video, did you                     ~   zS        Q And they were assisting with restraining



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      1   Tashii?                                                           1      Q Okay. And they're putting pressure on the
      z      A Correct.                                                     2   legs to keep him stable?
      3      Q At some point, were you holding on to                        3       A I wouldn't say pressure. They're probably
      q   Tashii's legs?                                                    4   holding his legs to turn the both of them over.
      5      A Not that I recall specifically.                              S       Q Well, to hold him, they have got to put some
      6      Q At some point, did either Officer Tran or                    6   pressure on him, correct?
      ~   Flores hold on to or put pressure on Tashii's legs?               ~       A Like I said, they're not -- they're probably
      $      A I don't remember.                                            $   not segmenting his legs where we would, like, pin
      9      Q Lopera was doing what's known as a back            ~         9   someone's leg down to the ground to prevent their
     io   lying neck restraint, correct?                                  10    movement. They're probably holding the leg to turn
     11      A Correct.                                           ~       11    him over.
     i2      Q And his legs weze wrapped around Tashii,           i       12        Q Okay.
     13   correct?                                                        '-3       A Sorry. Body language.
     14      A Correct.                                                   14        Q That's all right. Now, at that point,
     15      Q Where were they wrapped around him?                        15    you're focused on his arms, correct?
     16      A I mean, it would be, like, between the waist               i6        A Correct.
     17   and the knees.                                                  17        Q I believe in your -- if you turn to Page 42,
     18      Q As part of applying the LVNR, is it                        ig    Lines -- between Lines IS to 21, you stated, at this
     19   important to position the subject's head properly?              19    point you, quote, weren't really busy -- strike that.
     20      A Yes.                                                       20    I'll just read the record.
     21      Q Why is that?                                               zi           So question at Line I5: "Well, can you see
     2z      A To get the proper compression on the sides                 22    if he is conscious or not?
     23   of the neck.                                                    23           "ANSWER: No. I wasn't -- I wasn't -- how
     24      Q Based on your training with the LVNR, is it        ~       z4    do I explain? I wasn't really busying nnyself with
     25   appropriate to place your hand on the subject's head,           25    whether or not he was conscious. I was trying to get

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      1   either front, back, sides in an effort to position it   (        i    them roiled over so I could get ham in the
      z   properly?                                                        Z    handcuffs."
      3      A Possibly.                                                   3          Is that correct?
      ~      Q I want to kind of take you to the scene                     q       A Correct.
      S   before you rolled Tashii over but when Officers Tran             5       Q Now, at the scene, you are required to
      6   and Flores are there along with yourself and Lopera.             6    supervise Lopera, correct?
      ~   Lopera's got him in a rear restraint, correct?                   ~       A Correct.
      e      A (Witness nods head.)                                        g       Q And you aze required to supezvise Flores and
      9      Q Yes?                                                        9    Tran?
     z0      A Correct.                                                   10       A Correct.
     ~1      Q And where aze you?                                     ~   ~i       Q When you supervise officers, you're supposed
     i?      A On the side.                                           i   1z    to advise them, correct?
     13      Q Where -- and what are you doing?                           13       A Correct.
     14      A Holding onto drat handcuffed arm.                          1~       Q And fair to say tYzat Metro teaches that a
     is      Q Are you trying to grab the other ann too?                  15    properly applied carotid hold or LVNR. restraint
     i6      A I need to roll them over before -- T need to               16    should make a person unconscious in about 7 to
     17   sepazate before we can get the handcuffs on him.                i~    14 seconds?
     ia      Q Thanks for clazifying.                                     18       A That's what they say.
     19          So then where ue Officers Iran and Flores                1~       Q So is that -- have you ever applied an LVNR
     20   when you have got his arm and Lopera has got him from           ~0    before to a subject?
     z1   the back?                                                       21       A No.
     ?2      A As I recall, they were both down at the                    22       Q Had you ever seen anybody in the field apply
     z3   feet, legs, but I'm not totally sure.                       I   z3    an LVNR?
     24      Q Feet and legs?                                             z4       A No.
     25      A 1 --that area.                                             2'       Q With Tashii and Officer Lopera ~- strike



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      1    that.                                                        1    of artificial resuscitation?
      2          F-tad you ever supervised Lopera before this           2       A I'm not totally sure. Short.
      3    incident in a use-of-force situation?                        3       Q Do you know the actual time?
      4       A No.                                                     4       A No.
      5       Q Have you ever been a field training officer?            S       Q And when you say "short," more or less than
      6       A No.                                                     6    a minute?
      ~       Q Did you ever have any responsibility for                ~       A I'm not sure.
      $    training Officer Lopera?                                     $       Q Did you personally ever check to see if
      9       A No.                                                     9    Tashii had a pulse?
     to       Q So did you expect, as a supervisor, that --        ~   10       A No. Thad officers there with him checking.
     11    strike that.                                            i   11       Q Who was checking?
     i2          I'il just take a quick break.                     '   1z       A I believe -- well, what happened initially
     i3          TfIE VIDEOGFtP,PHER: 'Fhe time is approximately   i   13    was they actually tried to stand him up. I guess it
     ~4    11:08 a.m. We aze going off the record.                     14    wasn't clear to them that he was unconscious. But I
     ~s          (Off the record.)                                     15    said, "No, no, no, no, no, sit him down, sit him up,
     16          THE VIDEOGRf~PHER: The time is approximately          16    pat him on the back."
     1~    11:18 am. We are back on the record.                        1~           So they did that for a short period of time
     1e    gy MI2. LAGOMAT2SIN0:                                       ~$    and said that they had -- that he was breathing and
     i9       Q All right. So kind of getting back to the              19    that he had a pulse. And then they updated to me
     20    scene here, you had mentioned that you had told             Zo    that they couldn't find a pulse. And I said, "Take
     21    Lopes to let him go, words to that effect, correct?         Zl    him out of handcuffs and start chest compressions."
     27       A Correct.                                               ZZ       Q When you say "they," who aze you talking
     z3       Q Did you ever physically check to see if                23    about?
     29    Lopera had rela~ced his hold?                               24       A So we had -- I mean, the officers that I
     25       A No.                                                    ~5    know were there were Tran, Flores, Kravetz, Amburgey


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      i      Q Did you ask Lopera if he had relaxed his                 1    and Vontagen.
      z    hold?                                                        2       Q And it was Amburgey that was the one who was
      3       A No.                                                i    3    applying medical, cosect?
      `~         MI2. LAGOIvIARSINO: Let's go off the record.           `~      A I believe it was Amburgey and Ksavetz.
      5          TI-TE VIDEOGRAPI-I~R: We are going offthe              5       Q So nobody was applying medical before they
      6    record. The time is approximately 11:19 a.m.                 6    got there, correct?
                 (Offthe record.)                                       ~       A They were just monitoring him.
      8          'I`I~E VIDEOGRAPHER: The time is approximately         e       Q But nobody was applying CPR or compressions
      9    1120 a.m. We aze back on the record.                         9    to hizn before they got there, right?
     ~o    By MR. LAGOMARSINO:                                     ~   10       A Before we took him out of handcuffs and
     11       Q So we're going to go into a little more                11    started it, correct.
     12    detail on the incident a little later today, but I      ~   1~       Q Okay. And I may have asked you this. I
     13    want to talk about what happens after you roI(Tashii        13    apologize. Did you see if Lopera checked to see if
     ~4    over. Okay?                                                 14    Tashii had a pulse?
     is       A Okay.                                              ~   is       A No. Lopes immediately disengaged and
     1s       Q So you roll him over. What happens next?               16    walked away to check his own equipment, catch his
     17       A I called for medical.                                  17    breath.
     is       Q EIow much time elapsed between the time you            18       Q Okay. Would you agree that it's important
     19    called for medical and the time you rolled over --          19    at all times to make sure that Tashii was breathing?
     20    rolled him over?                                            70       A Maybe not at all times. They can't do two
     z1       A Seconds. It was before X even stood up off             21    things at once, but --
     22    the ground.                                                 Z~       Q Okay. All right. Can you please tum to
     z3       Q Okay. How much time elapsed between —and               23    Page 48?
     24    just an estimate -- between the time you rolled him         Z4       A Sure.
     zs    over and the time somebody started giving him means         25       Q So the question at Line 6, it says: "And



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      1   would it be important at all times for you to make               1      Q On how many occasions?
      2   sure that Mr. Farmer was breathing?                     ~        2       A A handful maybe.
      3         "ANSWF,R: Yes."                                            3      Q And what's your method of assessing whether
      4     A Sure. Yes.                                                   `~   somebody was using excessive force?
      5     Q Do you agree with that?                             ~        5       A Based on the -- based on my perception. If
      6     A Yes.                                                j        6    iYs in the moment, then it's based on my perception
      ~     Q And as a supervisor, were you required to           i        ~    of what crime is being committed, what type of
      e   make sure all the officers were performing within                8    resistance the subject is offering.
      9   Metro policies?                                                  9       Q And do you know the difference beriveen a
     to     Q, YeS,                                                       to    subjective assessment and an objective assessment?
     11     Q And was it also your responsibility to                      il       A Not necessarily. Go ahead and clarify for
     12   supezvise and make sure that deadly force was not               1z    me, please.
     13   applied to Tashii?                                              13       Q That's all right. I'll come back to that.
     14         MR. ANDERSON: Objection. Form.                            14       A Okay.
     1s         THE WTTTIESS: It would be my job to make                  15       Q Are you trained to not assume the negative
     16   sure that excessive force wasn't applied.                       16    about a subject or suspect?
     17   BY MR. LAGONiARSINO:                                            i'           MR. ANDERSON: Objection. Form.
     1e      Q All right. In your view, was this excessive                1e           THE W[TNESS: I'm not exactly sure what
     19   force?                                                          19    you're asking.
     Zo         MR. ANDERSON: Objection. Form.                    ~       20    BY MR. LAGOMARSINO:
     z1         MR. MCNiJTT: Objection. Form.                             2'-      Q In other words, did you assume that Tashii
     zz   BX MR. LAGOMARSINO:                                     ~       22    had committed a crime?
     23      Q Let me rephrase. Having reviewed the video         j       23       A Yes.
     z4   and the evidence in the case, do you believe it was             24       Q A.nd you didn't ask Ken if he had committed a
     25   excessive force?                                                25    crime, correct?

                                                   Page 55                                                                Page 57
      1      A I have concerns about it. I don't know that                 1       A No.
      2   I would necessarily categorize it as excessive force.            2       Q Not correct or correct?
      3      Q What concerns do you have?                                  3       A It's correct that I did not ask him if he
      4      A Well, I haven't been able to interview the                  4    committed a crime.
      5   officer to get his perception of what he was dealing             5       Q Those -- those are always my fault when I
      6   with at the time, so --                                          6    ask those questions, the double-negatives.
      ~      Q Is it --                                           i        ~          As a supervisor, would it be your
      ~      A -- there's a lot of unanswered questions.          !        $    responsibility to make sure that Officer Lopera did
      9      Q Is his subjective view important, or is it                  9    not choke `I'ashii to death?
     to   more o£an objective test?                                       10          MR. ANDERSON: Objection. Form.
     it         MR, ANDERSON: Objection to form.                          ll    BY MR. LAGOIvIARSINO:
     1~         THE WITNESS: I'm not sure I understand the                12       Q I'll rephrase.
     13   question.                                                       13       A Okay.
     14   BY MR. LAGOMARSINO:                                             14       Q At Page 49.
     1s      Q Do you ever as a sergeant have an                          15       A Yeah.
     16   opportunity to assess whether somebody has used                 16       Q you were asked: "Would it be your
     17   excessive force?                                            i   17    responsibility at that time to matte sure that Officer
     1e      A I guess aze you asking me, in the moment               ~   18    Lopera did not choke Mr. Farmer to death?"
     19   while the force is being used versus after the fact         ~   19          And your answer was "Yes," correct?
     20   or __                                                           20       A It was.
     21      Q Well, yeah. Let me -- thanks for asking me                 21       Q After this incident, you were not confirmed
     2z   to clazify, and I will clazify it.                              22    from your probationary status as a sergeant; is that
     23         As a sergeant, had you ever assessed in any               23    correct?
     24   situation whether somebody was using excessive force?           24       A Correct.
     25      A Yes.                                                       25       Q Tell me about what the probationary status



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      i    is and how that works.                                       1   use-of-force boazd, you have an assistant sheriff is
      2       A So when you first geY promoted to sergeant,             2   the chairman, a deputy chief, two captains, [think,
      3    you have a 12-month probationary period where you're         3   and then you have three civilians on the use-of-force
      4    supposed to be given constant evaluation and feedback        4   board.
      5    as to your performance. And then at the end of the           5     Q And then on the tactical board -- tactical
      6    12 months, you're confirmed in your position.                6   review boazd you said?
      -~      Q When you're on probationary status, though,             ~      A Yes.
      8    you're getting a higher rate of pay, cottect?                $      Q Who's on that?
      9       A Correct.                                                9      A That, the civilians go away, and it's just
     z0       Q And you have a higher rank?                            10   the rest ofthat board that I named off.
     1i       A Correct.                                               11      Q And just for the record, who was that again
     12       Q And you take all the responsibilities of a             17   for the tactical review?
     13    sergeant?                                                   13      A Assistant sheriff; deputy chief, and I think
     14       A Yes.                                                   14   two captains. There's also, you have a peer sergeant
     1s       Q Later in the deposition, there was some                i5   and a peer officer. Wetl, in this case, you had a
     16    discussion about which violations were sustained            16   peer sergeant and a peer officer, because I was
     i~    against you?                                                17   involved, so there's a peer on the board for each
     la       A Uh-huh.                                                18   rank that's involved.
     19       Q Do you recall those topics?                            i9      Q And by name, who are the individuals that
     20       A Yes.                                                   z0   were on your tactical review board?
     zl       Q What were the -- let me build some                     21      A My recollection, it's Assistant Sheriff Tim
     z2    foundation here. You went through a review boazd,           22   Kelly, Deputy Chief, is it John McGrath? John
     z3    correct?                                                    23   McGrath, Captain John Pelletier, P-E-L-L-E-E-T-I-E-R
     24      A Correct.                                                24   [sic]. .4std the peer sergeant was Ryan Evans, and the
     25      Q What is a review board?                                 25   peer officer, I believe, was Travis Ivie, I think.


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      1       A There's a tactical review board and a              ~    1      Q And tell me about that process. I just
      2    use-of-force review board. They're usually held the          2   don't know much about it, so...
      3    same day. First, you have tlae use-of-force review           3      A So the Critical Incident Review Team does
      4    board going over the actual force that was used, and    i    q   their review of the critical incident, puts together
      5    then you have the tactical review board reviewing the        S   a presentation, presents it to the board. The boazd
      6    tactics that were employed during the incident.         ~    6   asks questions of the detective presenting the
      ~       Q Did you go through both o£those?                   j    ~   presentation, of the officers that were involved in
      8       A Yes.                                                    $   the incident, and we also have representatives there
      9       Q And is that automatic, or is thae something             9   to also ask questions, clarify, and then they
     lo    that you have to request?                               ~   1°   convene, deliberate, whatever you want to call it,
     11       A No. It's something thaYs automatic on an           i   11   and then they come back and issue their findings.
     lz    officer-involved shooting, in-custody death, any        ~   17      Q So in this case, who was the detective that
     13    major incident. The officer of internal oversight       ~   13   was presenting the case on behalf of CTT2T?
     14    wzll initiate that investigation.                       '   14      A It was Kasey Kirkegard, [C-I-R -K-E-G-A-R-D, I
     is       Q And this was an in-custody death, correct?         i   is   think.
     ~6       A Correct.                                           '   1s      Q And was it -- is that a male or female?
     17       Q Why is it an in-custody death?                         i~      A Female.
     18       A Because Tashii Farmer dzed while he was in             18      Q Was it her position that you failed to
     19    our custody ox during our interaction with hnn.             19   intercede?
     20       Q Who is on the use-of-force board? Let me               Zo      A No.
     21    rephrase that. For you, who was on the use-of-force         21      Q What was her position?
     22    board?                                                      72      A She informed me upon reviewing the case that
     23       A I -- to the best of my recollection, I was             23   it was not CIRT's determination that I failed to
     24    not a subject of the use-of-force board. I was a            24   intervene.
     zs    witness on the use-of-force board. On the                   25      Q Did you have any questions at your tactical



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     i     review boazd about the subject of intervening?              ~     I'm using the wrong terminology. Were there charges
     2       A Yes.                                                    z     Lhat were presented at the review boazd?
     3       Q And who was in the room with you when those             3        A TYs all pretty convoluted, to be honest
      4    questions were asked?                                       4     with you.
      S      A Ali of those people, There's a tittle bit               5        Q Okay.
      6    of an audience. There's a person taking down the            6        A Yes, there are policy violations.
      ~    note- -- the minutes. My lieutenant was there. And,         ~        Q And which policy violations were presented
      $    of course, I had two representatives from the PMSA.         8     to the review board from CIRT pertaining to you?
      9    The officers that were involved, they each had a            9        A That would be neglect of duty, major
     to    representative.                                            i~     incident and all-hazazd plan and body-worn camera.
     11       Q When you say there was somebody taking down           ~'-       Q And which charges were sustained?
     12    the minutes, like a court reporter?                        12        A Ivlajor incident, all-hazard plan and
     73       A I believe it's one of our people, like an             ~3     body-worn camera.
     14    administrative assistant.                                  14        Q .And were you told why neglect of duty was
     1~       Q And do they have a machine like we see here           15     not sustained?
     z6    today or --                                                16        A No.
     17       A I don't remember.                                     17        Q Are you informed of-- is it like a majority
     ie       Q Is it recorded?                                       18     vote from the board, or how does it work? Do you
     is       A Yes.                                                  19     know?
     20       Q How is it recorded?                                   20        A I have no idea. Ultimately the -- I'll take
     zi       A I believe it was audio and transcribed.               2 '-   that back. Ultimately the decision rests with the
     z2           MR. LAGOMARSINO: Are we going to -- are yov         22     chairman of that board, which is the assistant
     z3    going to produce those?                                    z3     sheriff. There is a vote, there is deliberation, but
     z~           MR. ANDERSON: I'm not sure it's accurate,           24     that's the way it was explained to me.
     zs    but I'll look and see what...                              25        Q And at least with respect to neglect of


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      1          MR. LAGOMARSINO: Yeah. We just want all                1    duty, would that encompass intervening?
           the -- I don't have anything from the review board.          2      A Yes.
      3          MR. ANDERSON: Ali right.                               3      Q And basically the review board ratified your
      4    BX MR. LA.GOMt~.RSINO:                                       4    conduct and said that you did not fail to intervene,
       5      Q So who asked you personally about the                  5     correct?
       6   subject of intervening?                                     6        A Correct.
       ~      A Gosh, Captain Pelletier definitely did. I'm            ~        Q When you said that there's an audience, is
       s   not sure who else.                                          g     it open to the public?
       9      Q On the board itself, who aze the policy                9        A No.
     to    makers on that board?                                      10        Q Do you recall who was there in the audience?
     ~i          MR. ANDERSON: Objection. Form.                       11        A No.
     '-2         TI-IE WITNESS: I mean, can you clarify what          12        Q When you were in there, where axe you? Are
     13    you mean by a policy maker?                                13     you in, like, some kind of cournoom or a --
     14    BY MIL LAGOMARSINO:                                        14        A No. it's abig -- big conference room at
     is       Q yeah. How are policies arrived at at Metro?       i   15     Metro and headquarters.
     16    Do you know?                                               16        Q Over at MLK?
     17       A Well, actually, it's -- the entire chain is            17        A Yes.
     le    involved in policies. As a sergeant, we would get           18        Q And what records have you seen from the
     ~9    e-mailed lists of potential new policies, and we're         19    review board process?
     ~o    allowed to give feedback up the chain so they can      ~    20        A I mean, I saw the PowerPoint.
     z~    tweak policies and point out what -- if we think            21        Q Provided the PowerPoint?
     22    there's a problem with the policy or whatnot. But           22        A Yes.
     23    actual policies get signed all the way up through at        23        Q Okay. Did you see, was there like a report
     24    least the undersheriff, if not the sheriff.                 z4    or recommendation or something like that issued
     25       Q And which alleged charges -- sorry. Maybe              25    after?



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      1      A I mean, my -- when I was not confirmed, that                ~     A Correct.
      2   included -- I don't know what you would call it, the             2     Q tlnd who is that for a sergeant?
      3   conclusions or the findings.                           '         3     A PMSA, the Police Managers and Supervisors
      4      Q Are you eligible to -- well, sorry. What's                  4   Association.
      S   your current rank?                                               5     Q Who was there from the PMSA on your behalf?
      6      A Police officer.                                             6     A tt was Sergeant Russ Wood and Lieutenant
      ~      Q Are you eligible to move up to sergeant?          ~         ~   Kurt, K-U-R-T, McKenzie, M-A-C-K-E-N-Z-T-E {sic).
      $      A They say I am.                                              B     Q I saw in some of the statements that Bryan
      9      Q Does Metro have a policy that if you see a                  9   Yant had participated in some of these statements.
     z0   fellow officer engaged in excessive force, that you    ~        10   Do you know who he is?
     li   have a duty to intervene?                                       i1      A Yes.
     1z      A Yes.                                                       12      Q What do you know about Bryan Yant?
     13      Q And does that apply to all officers across                 13      A I-[e is a representative with the PPA.
     iq   the board or only to supervisors?                               19      Q Were you awaze that he had personally shot
     is      A All officers across the board.                             15   three individuals when he was an officer?
     16      Q When -- is it Detective Kirkegard?                         16      A Yes.
     17      A Yes.                                                       17      Q Were you ever present when he was -- were
     18      Q When Detective Kirkegard presented the                     18   you ever present at any officer statements besides
     z9   neglect of duty allegation, did she say that you                19   your own?
     20   failed to intervene?                                            20      A No.
     21      A I'm not sure I understand.                                 21      Q Okay.
     ZZ      Q What was the -- sorry. What was the basis                  22      A I'm sorry, you mean when they gave their
     23   of the neglect of duty allegation?                              23   initial statement?
     24      A So initially it was listed -- when I was                   z4      Q T apologize. So many people gave several
     25   first interviewed by CIRT, it was listed as duty to             2}   statements, correct?

                                                   Page 67                                                            Page 69

      1   intervene. When it went to the tactical review                   1       A When they made a statement at the tactical
      z   board, it had been changed to neglect of duty with               z    review board or an inirial statement?
      3   the recommendation to sustain me for it.                         3       Q So there's a voluntary statement, right?
      4      Q Okay. So when you say "sustain," they                 !     4       A 'Yes.
      5   didn't riy to make a case that you neglected duty,         ~I    5       Q And that's pretty short. That's at the
      6   correct?                                                         6    scene?
      ~      A They did.                                             ~     ~       A Potentially, yes.
      e      Q Oh, they did. Okay. Oh, actually when you                   $       Q Then you have the FIT statement, correct?
      9   say "sustain," a charge. A!1 right.                        i     9       A Correct.
     to         So what was the basis for the neglect of             ~    to       Q What does FTT stand tor?
     11   duty charge?                                                    it       A Force Investigation Team.
     12      A That I failed to intervene.                                12       Q Then there's a CIRT statement, correct?
     i3      Q And was the allegation that you failed to              i   ~3       A Correct.
     14   intervene based on the fact that Lopera was using           I   14       Q So you've given all three of those, correct?
     1s   excessive force?                                            I   1s       A It would just be -- we wouldn`t do a
     16      A I don't recall specifically.                               16    voluntary statement. I gave a statement to FIT at
     i~      Q Was the basis of the failure to intervene              i   17    the scene, and then roughly 48 hour- -- two days
     16   that Lopera excessively applied the neck restraint?             i$    later I gave a statement to CIRT.
     19      A I don't recall. I think we'd have to look                  19       Q Have you given any other statements in this
     Z~   at their report.                                                20    case?
     z1      Q Did you have a -- are you a member o£the                   21       A The deposition, grand jury.
     zz   ppp?                                                            22       Q Who represented you at the review board?
     23      A Currently, yes.                                            23       A That was Russ Wood and Kurt McKenzie.
     24      Q Now, there's a different organization for                  z4       Q There are tluee different levels of the
     zs    higher ranks, correct?                                         zs    LVNR, correct?



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      1        A Cozrect.                                                1       Q When you fumed him over, did you put him
      2        Q Can you describe those?                                 2    face down on the pavement?
      3        A Level 1 would be when you have just the hold            3       A So to get the handcuffs on, he has to go
      4     in place and you're not applying any pressure. It's          4    face down on the payment, handcuffs go on, he
      5     also called zero degrees.                                    5    immediately got turned back over face up.
      6           Level 2, T believe, is 20 degrees when                 6       Q Okay. And did all three of you -- strike
      ~     you're applying medium pressure to the chest and to          '    that.
      e     the sides of the neck.                                       8          Dad all four of you turn him over on his
      9           And then 45 is 45 degrees and maximum                  9    stomach and then roll him back, Flores, Trap,
     Lo     pressure.                                                   10    yourself and Lopera?
     ii        Q If you don't mind, please tum to Page 53.              ii       A Roughly, at least two or more of us.
     12        A Okay.                                                  12       Q Who is handcuffing Tashii after you rolled
     13           MFt. MCNUTT: 5-0?                                     13    him over, principally?
     ~4           MR. LAGOMARSINO: 53.                                  ~^       A I had the left handcuff, and I don't
     15     gy MR, LAGOMAR.SINO:                                        15    remembez who put on the right handcuff, and we joined
     16        Q Question at Line 14, it says: "Had you --              16    them together.
     17     can you determine whether an officer is using Level         ~~       Q PII refresh your recollection here at
     lII    1, Level 2 ox Level 3?"                                     ~g    Page 64.
     19           And your answer was: "I mean, other than              i9          It says: "All right. And then the othez
     20     sticking your hand in between their arm and the             z0    handcuff, do you know who attached that to the other
     2~     person's neck or verbally confirming with them what         21    azm?
     zz     level they're in."                                      ~   2~          "ANSWER: No."
     23           Is that the only way to determine whether             23          And then it says: "And then he was -- weze
     24     they're using Level 1, Leve12 or Level 3?                   24    both handcuffs attached to both of his arms before he
     2=        A Yes.                                                   25    was placed face down?"
                                                                                                         ---
                                                     Page 71        ~                                                  Page 73

      '-       Q Is it hard to determine what angle a                     1          And I think the answer was: "I'm not sure
      2     restraint is being applied at when it's being applied   j     2   if the other one was."
      3     from the back?                                          ~     3          Then answer -- or "QUESTION: Okay. So he
      4        A Yes.                                                     ~   was placed face down, one ann was pulled over to the
      S        Q Why is that?                                             5   back, the other arm was pulled over next to it, and
      6        A If you're doing a standing or maybe a                    6   the two handcuffs were cuffed together and attached?"
      ~     kneeling L'VNR, then you see the back arm. And as you         ~          And what was your answer?
      e     apply more pressure, theoretically your back elbow            8       A "Correct."
      9     goes up higher. When you're back lying LVNR, your             9       Q And then: "So then you believe that took
     io     arm is against the ground if you put it back, so            10    five to ten seconds?"
     il     you're trained to tuck it under and have your forearm       11           And what was your answer?
     lz     flat against the subject's back.                            12        A "I believe so."
     13        Q When you first noticed that Tashii was                 13        Q And then: "QC7ESTION: Who was principally
     14     unconscious, was it because his eyes were closed that       14    doing the handcuffing?"
     '- 5   you believed he was unconscious?                            '-5          What was your answer?
     ~6            Lets take you to Page 61.                            16        A "Officers Flores and Tran."
        7      A Okay.                                                  ~~        Q Then the next question, it says: "So is it
     1g        Q And when there's a pause, I'm skipping                 1a    fair to say during the time he was being handcuffed,
     i9     questions, so...                                            '-9   you don't know if he was -- there was any sign of
     20        A Okay.                                                  20    resistance?"
     21        Q So going to Line 17: "Welt, was it the fact            21           Is it cozrect that you didn't know if he was
     2z     that his eyes were closed? Is that what caused you          22    resisting at that time?
     z3     to believe that he was unconscious?"                        23        A Correct.
     24            And what was your answer?                            24        Q Is CIRT internal affairs?
     25        A "Yes, slr. Initially."                                 zs        A No.



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      1      Q So maybe you can help me clarify this. So          ~      1       A "No, I didn't observe anything."
      2   at Line -- at Page 66, Line 2, by Mr. Sayre: "Now,      ~      ~       Q Did you ever see Officer Flores attempt to
      3   so somebody levied the charge at you initially. Was     I      3    intervene to remove his hands from the neck of
      °   that internal affairs?°                                 ~      4    Mr. Fazmer?
      5          And your answer was, "Yes."                      ~      5       A No.
      6          Is that correct or incorrect?                           6       Q You're wearing glasses today, correct?
      ~      A Tt's incorrect.                                           ~       A Yes.
      $      Q Okay. And then you clarified: "It was our                 $       Q For the record, were you wearing glasses
      9   Critical Incident Review Team."                                9    that day?
     io         Correct?                                                10       A Yes.
     li      A Correct.                                                 it       Q So there aze different levels of resistance,
     12      Q And the head of that was Kelly McNlahill?                12    correct --
     13      A Yes.                                                     i3       A Cozxect.
     i4      Q And that's a female, correct?                            14       Q -- that you're trained on, correct?
     1s      A Yes.                                                     15          What aze the different levels that you're
     16      Q Did Trap and Flores also testify at the                  16    trained on?
     17   tactical board?                                         ~     i'       A You have compliance, passive resistance,
     L$      A Yes.                                               I     i$    active resistance, aggressive and aggravated
     1g      Q Do you know what they were charged with?           j     19    aggessive.
     Z~      A Body-worn camera, I believe.                       ~     20       Q Based on your review of the video, did you
     21      Q Okay. So then the next question was: "What               21    see Mr. Farmer actively resisting?
     zz   other charges were levied against you besides that            22       A Passive to active, yes.
     23   one?"                                                         23       Q All right. So we can go to Page 72, Line 3:
     z4          "ANSWER: Major incident and all-hazard                 24    "Okay. Now, you've looked at the video more than one
     25   plan, sometimes more commonly known as ICS or                 25    time?"


                                                   Page 75                                                              Page 77

      1   incident command system."                                       i         "Yes."
      Z          What does that mean?                                     2         What were you -- when -- just for our record
      3      A It means the care and control of the                       3   here, what video are you talking about?
      4   incident after the fact, setting up a connznand post,           4      A Lopera's body-worn camera and the
      5   setting up a perimeter, gathering your witnesses,           ~   5   surveillance video from the Venetian.
      6   calling all the necessary resources in, specialized         ~   6      Q Okay. And "QUESTION: Have you, at any time
      ~   units.                                                          ~   in looking at the body carrzera video, seen Mr. Farmer
      8      Q Was that sustained against you?                            8   actively resisting?"
      9      A It was.                                                    9         What was your answer then?
     io      Q How was that sustained if -- I mean, well,                10      A "No."
     11   at that point, I guess you didn't know there was a             i1      Q Little different question: I think I saw in
     12   death, cozrect?                                                i2   CIRT they had --they reference it anywhere from
     13      A Correct.                                                  i3   passive to active and back and forth.
     14      Q If you kzzew that there was a death, you                  i°      A Uh-huh.
     15   would not be responsible for that, correct?                  ~ 15      Q Regazdless of whether it was active
     16      A Depends on who you ask.                                 ~ 1s   resistance or passive resistance, did you ever see
     17      Q It's unclear?                                             17   anything in the video that would justify him being
     i$      A IYs unclear.                                              18   tased?
     L9      Q Ali right. So going to Page 68, Line 13:                  19      A Not --
     Z~   "QUESTION: "I'o your observation, at any time did              Zo         MR. MCNUTT: Objection. Form.
     21   Officer Tran attempt to intervene to get Officer               21         TI-IE WITNESS: Not necessazily.
     z2   Lopera to remove his hands fcotn the neck of                   22   BY MR LAGOIvIA1ZSIN0:
     23   Mr. Fanner?"                                                   23      Q Did you ever see anything in the video that
     24          After an objection to form, your answer was           i z4   would justify Tashii being hit on the head 10 to 12
     2s   what?                                                        i 75   times?



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     1          MR. MCNLJTT: Objection. Form.                       1      Q Well, let me rephrase.
     z          THE WITNESS: No.                                    2      A Sorry.
     3    BY MR. LAGOMARSINO:                                       3      Q You just said you read from something. What
     ~       Q Did you see anything in the video that would         °    did you read, what document?
     5    justify a lateral vascular neck restraint?                5      A The news or the paper that some doctors
      6         MR. MCNUTT': Same objection.                         6   had -- other doctors had testified.
      ~         THE WITNESS: No.                                     '      Q Officer Lopexa retained, X think, Force
      8   BX MI2. LAGOMAR3IN0:                                       8   Science, have you heard of them?
      9      Q Now, you were talking to the fire department          9      A I've heazd of them, yes.
     1o   when they arrived, correct?                               10      Q What have you heard about Force Science?
     1z      A Yes.                                                 iz      A That they study police use of force.
     12      Q And you, T believe you used the word "choke"         ~~      Q Have you ever heard of whether Force Science
     13   or "choke hold," something along those lanes,             13   has ever found that a police officer was not
     14   correct?                                                  14   justified?
     is      A T did.                                               75      A I have not.
     ~6      Q And did you do that because it wasn't, in            ~6      Q In any event, you've heazd that from other
     17   your view, an LVNR, or were you just trying to make       i'   sources, correct?
     18   the translation better for the fire department?           1e      A Yes.
     19      A I was trying to translate for the fire               19          MR. LAGOMARSINO: All right. I think it's a
     zo   departrnent.                                              20   good time to go to lunch.
     zi      Q Okay. Do -- are you a LTFC fan?                      21          THE VIDEOGRAPHER: We aze going off the
     22      A No.                                                  22   record. The time is approximately 12:02 p,m.
     z3      Q How many times, to your knowledge, did               23          (Lunch recess.)
     24   Lopera cycle his trier?                                   zA          THE VIDEOGRAPHER: The time is approximately
     zs      A To my knowledge, T believe at was seven.             zS    i:16 p.m. We aze back on the record.


                                                   Page 79                                                       Page 81

      1     Q   And did you believe that to be out of                1         (Plaintiffs E~ibit No. 2 was marked
      2   policy?                                                    z          for identification.)
      3      A Pol- --                                               3   BY MR. LAGOMARSINO:
      4         MR. MCNIJT"I': Objection. Form.                      4      Q Mr. Crumrine, did you give a statement to
      5         THE WITNESS: Sorry.                                  5   the Critical Incident Review Team?
      6         Policy says that after three cycles the              6      A Yes.
      ~   officer should consider another force option.              ~      Q It's also known as CIRT, correct?
      $   BY MR. LAGOMARSINO:                                        8      A Yes.
      9      Q Have you reviewed the coroner's report in             9      Q What is your understanding of CIRT's
     to   this case?                                                10   function?
     11      A No.                                                  11      A CIRT's function is to investigate the
     1z      Q Are you aware of what the coroner determined         12   tactics and policies as they apply to critical
     13   to be the cause of death?                                 13   incidents that occurred on the department and make
     14      A Vaguely.                                             14   recommendations for policy changes, discipline.
     is      Q Are you aware that it was determined to be           15      Q Have you ever reviewed your statement from
     z6   asphyxiation?                                             16   GIRT?
     l~      A Yes.                                                 L~      A Yes.
     i~      Q Do you have any reason, to your knowledge,           ig      Q Have you ever reviewed anybody else's
     19   to disagree with that?                                    19   statement from GIRT?
     zo         MR, ANDERSON: Objection. Form.                  I   20      A No.
     21         THE WITNESS: I know that there were other           2~      Q Have you reviewed the CIRT report that was
     2z   arguments made about it, just from what I read.           22   issued with recommendations out of this incident?
     z3   By MIt. LAGOMARSINO:                                      23      A Yes.
     24      Q What did you read?                                   24      Q And when did you do that?
     25      A Just about --                                        25      A Roughly -- it was two days, I think two



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      ~   days, ox the day before the tactical review report.    ~        1    statement?
      2      Q When you gave your statement, where were                   z       A I believe it was my body-wom camera.
      3   you?                                                   j        3       Q Azad then it says: "Were you able to listen
      4      A In the CIRT office at headquarters.               ~        `~   to the audio as well?"
      S      Q And who was present?                                       5            What audio did you listen to?
      6      A Myself, Detective Pat Hughes, Detective                    6       A Audio from the body-worn camera.
      ~   Kasey Kirkegazd, Sergeant Kyle Wazd, Lieutenant Dan             ~       Q Your CIRT statement was quite long, correct?
      8   Bledsoe, Russ Wood, Jay Roberts and Kurt McKenzie.              e       A Xes.
      9      Q And did you understand that the conversation               9       Q And you have reviewed it before?
     to   was being recorded?                                            10       A Xes.
     1i      A Yes.                                                      ~1       Q If, at any time that we go through this, it
     iz      Q And was there a person there that was also                1z    doesn't appear to be a true and correct copy of your
     13   transcribing similaz to what you described earlier             13    statement, please let us know. Okay?
     14   today?                                                         14       A Okay.
     is      A I believe it was just recorded.                           15       Q All right. Going to Page 8, the question
     16      Q Did you understand that you had an                        i6    was: "Were you wearing body armor that night?"
     17   obligation to be truthful?                                     17            You were, correct?
     18      A Yes.                                                      is       A Yes.
     19      Q And on Page 3 of the statement, there's an                19       Q Was Officer Lopera wearing body armor?
     20   inshvction from Kasey Kirkegard regarding                      20       A To the best of my knowledge, yes.
     21   self-incrimination?                                            21       Q Okay. And you were weaning a body camera
     22      A Yes.                                                      22    that night, correct?
     23      Q It says: "Self-incrimination. Because you                 23       A Correct.
     24   are being compelled to answer questions in an                  24       Q A.nd so I will kind of ask you the questions.
     25   employee -- I'm sorry — as an employee under the               25    If it's changed, let us Irnow. But where d'ad you

                                                   Page 83                                                             Page 85
      1   threat of termination, your statements, any                      i   position your body camera at that time?
      Z   information or evidence which is gained through such             Z     A On my right epaulette on my -- top of my
      3   questioning cannot be used against you in any                    3   shoulder.
      4   criminal proceeding. Do you understand this right?"              4     Q And: "QUESTION: And is that normally where
      5         And what did you say?                                      5   you pushin' it -- position it?"
      6      A "Yes."                                                      6         And the answer was, "Yes."
      ~      Q Did you understand that your CIRT statement,                ~         Correct?
      8   however, could be used in a civil proceeding?                    $     A Yes.
      9      A Yes.                                                  I     9     Q And where is the activation button kept?
     to      Q Please go to Page 4. Line 9 says: "All                ~   io      A On my vest underneath my shirt.
     11   right. Travis, you just stated your name and               ~   1'-     Q Is it fairly easy to activate your camera?
     1z   p-number, but there's quite a few other people in          ~   12      A Yes.
     13   this room for the investigation. I'd like to have              ~3      Q And is there a wire that runs from the
     14   everybody identify themselves to help the                      z4    camera?
     is   transcriptionist. My name is Patrick Hughes. My                '-5     A Yes.
     16   p-number is 9084. And we'll just move to the left."            16      Q Can you explain where it runs?
     17         And then a series of people were introducing             i~      A Basically, so the battery pack is here on my
     1A   themselves, correct?                                           18    vest under my shirt, and the wire runs out between
     19      A Correct.                                                  19    the buttons on my shirt, around my neck to the
     20      Q There's a question on Page 5 at Lina 4, it                z0    camera.
     z1   says: "Prior to this interview starting, did you --        ~   z1      Q So next question is: "Are you CIT
     22   were you able to re-review all the video that we           ~   22    certified?"
     z3   talked about?"                                             ~   ~3          What does CIT stand for?
     24         And your answer was, "Yes."                          ~   24       A Crisis Intervention Team.
     zs          What video did you review before the CIRT           ~   2=      Q And it says: ".Axe you instructor



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      1    development certified?"                                    i          A Drug recognition expert has gone through
      2           What is instructor development?                     z       more extensive training to identify physical signs of
      3       A It means you`re certified to teach classes.           3       ianpairment.
      4       Q Which classes were you certified to teach?            4          Q And that evening, you were riding in the
      S       A None specifically. I had just taken the               5       Crown Victoria?
      6    class that makes you certified to teach classes.           6          A Correct.
      ~       Q To teach classes. Okay. And then you'd                ~          Q Going to Page 12. So I touched on this
      B    have to be certified to teach a specific class?            a       earlier, but just so we can kind of get some context
      9       A Yes.                                                  9       here, it says: "How long have you been a supervisor
     to       Q Okay. Were there any crisis intervention             10       for Lopera?" 7 and 8?
     11    team elements that were present in this case?             11             And you said: "About March 11th."
     ~z       A Can you be more specific?                            1z             Correct?
     i3       Q Sure. Was there anything in your mind that           ~3          A Correct.
     14    would implicate crisis intervention in Tashii's case?     14          Q And the next question was: "Okay. Have you
     is       A It could have. It certainly could have had           15       ever supervised him outside of the flex squad?"
     16    the potential to have those elements.                     i6             What does -- what does that mean?
     17       Q Did it cross your mind when you first                17          A Had he ever been on another squad that I
     la    arrived at the scene that maybe Tashii was in crisis?     18       supervised, T believe is what he was asking.
     19       A Yes.                                                 19          Q All right. And youz answer was "No"?
     ~~       Q And based on what?                                 ~ 20          A Correct.
     21       A Based on that he's in a physical                   ~ 21          Q I believe I asked you this eazlier, you had
     22    confrontation with my officer.                          i 22       never supervised over a use of force where he was the
     23       Q Okay. Next question was: "Are you                  ~ 23       subject of a pursuit, correct?
     z4    certified in defensive tactics?"                        i Zn          A Correct.
     25           What was your answer?                            j 25          Q Okay. And what Is a citizen contact report?

                                                     Page 87                                                           Page 89
      1       ~ "Np,°                                              '~     1      A A citizen contact would be where a citizen
      Z       Q Are you certified today?                            ~     2   is complaining about an officer's actions. And it
      3       A No.                                                 ~     3   doesn't rise to the level of maybe a forrnal
      4       Q Were you required to be certified in                 j    4   complaint, but we still forrnalize it in a citizen
      5    defensive tactics?                                       ~     5   contact, which is still under the umbrella of our use
      6       A No.                                                 ~     6   of force policy, that we just document what the
              Q Is there a separate certification for the                 '   citizen's complaints were, what our investigation was
       e   LVNR, or does that fall under the umbrella of                  $   and what steps we took to prove, disprove, whatever.
       9   defensive tactics?                                             9      Q Do you tcnow if Officer Lopera ever had a
     to       A It falls under the wnbrella of defensive                 10   citizen contact report?
     11    tactics.                                                      1i      A I don't.
     '-2      Q So you're not a firearms instructor,                     12      Q But in any event, you didn't supervise him
     z3    correct?                                                      ~3   on a citizen contact report, correct?
     14       A Correct.                                                 14      A No, sir.
     15       Q And then it says: "Ase you HGN certified?"               15      Q And then aze citizen contact reports, to
     z6          What is that, horizontal gaze nystagmus?                i6   your knowledge, kept in your employment file?
     17       A Correct.                                            ~    17      A No, I don't believe so.
     16       Q And what is that?                                        18      Q Okay. And does Metro have a policy of
     19       A ''hat's the -- to detect impairment by              ~    a9   removing personnel actions from your employment file
     20    watching a subject's pupils, their eyes.                 ~    Zo   after a certain amount of time?
     21       Q And we asked you this earlier, you're not                21      A Yes.
     22    drug and recognition -- strike that.                          ~~      Q What is that policy?
     23          You`re not DRE certified, correct?                      23      A I'm not sure. But there's purge dates after
     24       A Correct.                                                 24   a certain amount of time.
     zs       Q And what is that?                                        2S      Q The file is purged at some point, correct?



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      1        A Yes.                                                         1        A The flex teams are not exactly a specialized
      2        Q Next question at Line 17: "And anything            f         2     unit, but at the station level, it's kind of
      3     that didn't involve a formal investigation could have   ~         3     considered a -- I don't know if I want to say special
      ~     been cleared out just in CAD."                          ~         ~     squad, but it's not doing the normal patrol function.
      5           What is that?                                               5     And it's at the captain's discretion that -- what the
      6        A CAD is the computer-aided dispatch system.                   6     flex teams to be. Sometime -- some places flex
      7        Q Okay. Sorry. That was a bad question.                        ~     squads are in tan uniforms, some places they wear
      ~     What would anything that didn't involve a formal                  e     green, some places they are in ptain clothes.
      ~     investigation that could have been cleared out mean?              9        Q Are you able to estimate what percentage of
     to        A Oh, God. I mean, if you just had someone                    10     Metro officers that the public deals with wear tan
     ~1     complaining, you know, the officers were                         11     unifozms?
     12     disrespectful to me or, T mean, probably the most                12        A It's hard to say.
     13     common complaint is that they didn't -- the person               13        Q Would you say, like, the overwhelming
     ~4     didn't break the law or that the officers don't have             14     majority of officers wear tan uniforms?
     is     probable cause to arrest the person.                             15        A Tan uniforms ox maybe plain clothes even.
     16        Q Had you ever witnessed Officer Lopera arrest                16        Q How unique is that BDU uniform?
     1~     anybody before this incident?                                    17        A For -- at Convention Center specifically,
     18        A I'm sure I did.                                             18     you have got roughly probably at the moment, even
     1s        Q Do you have a specific recollection of it?                  19     presently, about 28 officers that are on flex squads.
     20        A No.                                                         z0     So out of something like 235 officers assigned to
     ?1        Q Other than giving him the midnight briefing                 z1     Convention Center, just over 10 percent of them are
     22     or the roll call, do you have a specific recollection   ~        22     in green uniforms.
     z3     as you sit here today of observing Officer Lopera or    j        23        Q They look like anny uniforms?
     29     supervising him?                                        i        24        A I mean, they're not camouflage. They're
     zs        A Yes.                                               ~        25     just plain green BDUs. Eionest(y, we should probably
                                                                    i
                                                                                                             ---
            -----~-~-------                           Page 91           i                                                    Pa qe 9 3

       1       Q And what is your specific recollection?                ~      1    switch to them for everybody because they're mach
        2      A Just in the times that you first asked the             ~       2   less expensive than the tan ones.
        3   question the first time sort of, he made a stop over                3      Q Do you recall having pictures taken of you
        4   by Top Golf, if you know where that is on Koval and                 4   that evening?
        5   Trop, of a guy who was carrying a fireazm, concealed.               5      A I don't.
        6         He made a stop on Flamingo and Paradise with                  6      Q Do you know if Officer Lopera had pictures
        ~   a subject who was carrying a fizearm illegally; I                   ~   taken of him in what he was wearing?
        8   believe it was stolen. So yes.                                      8      A Yes.
        9      Q Okay. So you have those two recollections,                     9         MR. LAGOMARSINO: And, again, I'm not sure
     to     is what you remember?                                            10     if we have it or not, but I'd just request that we
     11        A At least, yes.                                              1i     get those.
     12        Q As you sit here today, can you remembez any                 12           MR. ANDERSON: Yeah. Okay.
     13     others?                                                     ~    13     gY MR. LAGOMARSINO:
     14        A Not off --                                             '•   '- 4      Q Okay. Going to Page 16, actually starting
     '- 5      Q Okay. There was some discussion at -- on               ~    15     at 15, going on to 16, there were some questions
     ~6     Line 14 -- or excuse me, Page 14, about the uniforms             i6     about do you know -- I guess you said you were
     17     you guys were weazing.                                           1~     already headed to the Venetian for something?
     1s        A 'Yes.                                                       18        A Yeah.
     ~9        Q What was Officer Lopera wearing that                        19        Q iVow, to this day, can you remember --
     20     evening?                                                         20        A I still don't. I still think about it from
     21        A ETe was wearing our green BDU type uniform.                 2i     time to time. [still don't remember what it was I
     22        Q What is that?                                               22     was going there for.
     23        A IPs one of the uniforms that specialized                    23        Q Was that a place where you would get coffee
     z4     units on the deparhnent sometimes wear.                          24     regularly?
     25        Q Was he in a specialized unit?                               25        A Yeah. Maybe once a week or so.



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      1        Q Okay. And then you would talk to security               1   Officer Lopera?"
       z    managers there?                                              ~         And then it appeazs that your answer was:
       3       A yes.                                                    3   "Okay. Um, I would say he's in active for the most
       n       Q And what would you talk to those security               9   part. He is definitely not trying to get away. He
       5    managers about?                                              5   is providing resistance to Officer Lopera."
       6       A Just any issues that they were having. T                6         So at any tixne, did you see Tashii trying to
       ~    basically -- understand that T spent of my 13-odd            ~   get away?
       8    years on the department, I spent 12-odd of them on           g      A No.
       9    graveyard on the Strip in one capacity or another.           9      Q What is the difference between active
     to     So when T was in vice, I was dealing with security on       10   resistance and aggressive resistance?
     11     the Strip. It's kind of what T'm most comfortable           1i      A Actions taken to -- with the intent of
     12     with. So some of these people I've known for a long     j   12   hazming the officer.
     13     time.                                                       13      Q Did you ever see any actions taken by Tashii
     14           I remember Venetian did have a brand new          i   i4   that indicated to you he was trying to hann the
     is     security supervisor on graveyard. That might have       I   ~s   officer?
     1s     been why I was going to meet that person.               i   i6      A No.
     17        Q I think this is going to be a slightly                 1~      Q Are citizens allowed to resist an officer
     18     different question than what I asked you: When you      '   za   who is using excessive force on them?
     i9     heard the radio traffic about the call at the               19         MR ANDERSON: Objection. Form.
     zo     Venetian, did you understand any of it?                 '   20          THE WITNESS: Yes, I think if that's
     2 '-      A No.                                                    21   evident, yeah.
     ~~        Q And you were not sure who was broadcasting             22   BX MR. LAGOMARSINO:
     23     the traffic, correct?                                       23      Q All right. Next Line 21, or excuse me,
     ?5        A Correct.                                               24   Page 21, 2-1, Line 9, so it looks like they're
     25        Q To you, did it sound like a fight or a foot            25   reciting something that you may have said in your PTT


                                                     Page 95                                                          Page 97

        i   pursuit?                                                     ~   statement. Tt says: "X saw them on the ground. And
        z      A Yeah. Yes.                                              2   as I got out of the car, I already knew he had him in
        3      Q On the way to the Venetian, do you have a               3   an LVNR."
        4   recollection of using your mobile data terminal or           4         And then the question, just for
        5   MDT? Did I say that right?                                   5   clarification: "Did you see Officer Lopera apply the
        6      A yeah.                                                   6   LVNR, or was the LVNR already applied?"
        ~          No.                                                   ~          And your answer was: "I saw him apply the
        8      Q All right. Are you able to run or do you                e   LVNR."
        9   know if Metro is able to see if you did use your MDT?        9         Correct?
     to        A Possibly.                                              10      A Correct.
     li        Q prior to arriving, did you know where                  it      Q So as you're approaching him, he is going
     '-z    Officer Lopera was?                                         12   into ehe LVNR, correct?
     i3        A No.                                                    i3      A Correct.
     '- 4      Q At any time, did you ever see Tashii punch             14      Q And what training had you received regarding
     is     or strike Officer Lopera?                                   15   the LVNR?
     16        A At any time when I was on scene?                       16      A Training in the academy, and then it's a
     i~        Q g~ggt,                                                 17   part of quarterly defensive tactics training at least
     18        A No.                                                    18   once a year, sometimes more often.
     i9        Q Going to Page 20, please.                              19      Q Had you ever watched a video on LVNRs?
     20            MR. MCNUTT: 2-0?                                     20      A Maybe.
     z1            MR. LAGOMARSINO: Yeah, 20.                           z1      Q Okay. I think we -- if we have one later,
     z2     BY MR. LAGOMARSINO:                                         22   maybe it will refresh your recollection, or maybe
     23        Q So the question at Line 20, "They're both on           23   not, but --
     2°     the ground. I was asking you what level of                  24      A Oh, I have watched that video, yes. Not in
     25     resistance do you think the officer was showing to          25   my trainittg had 1 watched the video.



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       ~       Q Okay. Do you know, was that video created              1      Q Okay. Then you were asked: "Did you ever
       z    before this incident or after?                              z   observe Officer Lopera remove either hand or arm away
       3       A To the best of my knowledge, it was created            3   from the suspect while he applied the LVNR?"
       4    after.                                                      4         What was your answer?
       5       Q The -- was it -- had you ever received any             5      A Where are we at?
       6    other LVNR training before joining Metro?                   6      Q Oh, I apologize.
               A No.                                                    ~      A I think it was "No."
        e      Q So was it based on your training with Metro            ~      Q So it's 26 at the bottom and then going to
        9   that you believed that Officer Lopera had Tashii in         9   27.
     io     an LVNR?                                                   io      A Yeah. "No.••
     11        A Yes.                                                  11      Q Okay. Same answer today?
     12        Q At all times did you believe at the scene             12      A Correct.
     13     that -- well, strike that.                                 13      Q Did you personally ever advise Tashii to
     14            24, please. Was it your understanding that          14   stop resisting?
     is     Lopera was trying to apply a back lying LVNR?              15      A Other than, "Put your fucking hands behind
     i6        A Yes.                                                  16   your back," that's all I ever said to him.
     17        Q A.11 right. 25, please. So you used the               i~      Q Going to Page 29, please. So Line 1, it
     '- $   phrase in your CIRT statement that Lopera was              i8   says: "On Page 4 of your FIT statement, you stated
        9   fcghting. Were you using it in the sense of, like,         ~9   you were able to place a cuff on the subject's left
     20     he was boxing, or was it like he just wasn't -- or         z0   arm. Why weren't you able to place the subject's --
     21     that he was just resisting?                                21   a cuff on the subject's right arm?"
     z~            MR MCNUTT: Objection. Form.                         7z         A.nd you said: "I couldn't get to it."
     23            MR. LAGOMARSINO: Yeah. That is a terrible           2j         Why couldn't you get to it?
     zd     question. I'Il rephrase.                                   24      A Like I explained before, when they're -- we
     Zs            ///                                             i   Z5   had to bring the cuffs behind Farmer's back and
                                                                   i                                _
                                                    Page 99        ~                                                Page 101
                                                                   i
      1     BY MI2. LAGOMARSINO:                                   ~    1   Lopera's chest is against Farmer's back, they need Yo
      2        Q You already testified that he wasn't hying             2   separate.
      3     to hazm Officer Lopera, correct?                            3      Q Okay. So it was based on Officer Lopera's
      4        A Correct.                                               4   position on Tashii that you couldn't get to his right
      5        Q And are you using the word "fighting" to          i    5   arm, correct?
      6     mean resisting?                                             6      A I could get to his right arm. I just
      ~        A Yes.                                                   ~   couldn't bring the two together to handcuff:
      8        Q A(1 right. Going to Page 26. There's been              e      Q Based on Officer Lopera's position, correct?
      9     some reference to Tashii being on top of Officer       ~    9      A Sure.
     to     Lopera, and so you were asked in the CIRT statement        1°      Q After Tashii was placed in handcuffs, was he
     11     about whether that could be potentially misconstrued       11   resisting?
     12     to imply that Tashii was in a dominant position. Did       i~      A No.
     ~3     you ever see Tashii in a dominant position?                13      Q At some point after you turned Tashii over,
     14        A No.                                                   14   you went to your car, correct?
     is        Q And when Officer Lopera had him. in the LVNA,         15      A Yes.
     16     did Officer Lopera have a certain amount of control        16      Q You didn't know anything about Tashii before
     1~     over Tashii?                                               1~   you went to go to your car to check him out, correct?
     i8        A Do you want me to put a percentage to the             18      A Correct.
     19     amount of control I think he had or --                     19      Q How long did it take you to run him at the
     Zo        Q Well, you said he had a certain level of              20   cagy'?
     21     control, correct?                                          z1      A T don't know, a minute or so.
     zz        A Right.                                                ZZ      Q Okay. How long did it take you to get to
     23        Q And he had that level of control over                 ~3   the car?
     z4     Tashii, coaect?                                            24      A Not very long. The caz was pretty close.
     25        A Yes.                                                  25      Q Another 30 seconds or a minute?



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      1      A Maybe.                                              1     BY MI2. LAGOMARSINO:
      z      Q After you had turned him over, did you run          2        Q At the time that you told Lopera to release
      3   to the car, did you jog, did you walk fast?              3     Tashii, did you fee] that Lopera had control of
      4      A Oh, it was probably several minutes before i        4     Tashii?
      5   went to the car. I was calling for medical. I mean,      S        A No.
      6   all the other -- I think a bunch of that stuff           6        Q Okay. All right. Lees tum to 44.
      7   happened before I ever went to the car.                  ~        A Sure.
      6      Q Okay. When you ran him, you received some           e        Q At Line 3, you said: "All right. So at the
      9   information that he had a prior DYIT, correct?           9     time -- so at the time you told him to release the
     to      A Correct.                                           10     LVNR, it was still just you and the subject officer?"
     it      Q Was that relevant to what had happened             ll           And what was your answer?
     1z   before you ran him?                                     12        A "Correct."
     13      A ~.Io,                                              13        Q ".And the purpose of releasing the LVNR was
     14      Q Have you since learned that Tashii had a           14     to facilitate handcuffing?"
     is   record in Hawaii?                                       15           And what was your answer?
     16      A Yes.                                               16        A "Correct."
     17      Q Was that relevant to you before you learned        i~        Q "And you felt that you and the subject
     le   that?                                                   L$     officer had control of the subject?"
     19      A No.                                                i9        A "Correct."
     20      Q Strike that.                                       z0        Q All right. Please tum to 46. We talked
     Zl          Was that relevant to you before the incident     21     earlier about that you used the word "choked" with
     Zz   or during the incident?                                 22     the fire department, at the bottom of 46 and 47 where
     23      A I don't think I understand the question.           z3     you were talking about that with CIRT.
     24      Q That's like a dumb lawyer question.                z4        A Yes.
     25          You didn't know about it, right?                 25        Q Is a choke hold slang for an LVNR at Metro?

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      1      A Correct.                                              ~      A Yes.
      2      Q So it couldn't be relevant to you?                    2      Q Okay. Did you ever submit ause-of-force
      3      A Correct.                                              3   report regazding the use of the LVNR?
      4      Q Did you ever ask Lopera what crime Tashii             4      A No.
      5   had committed?                                             5      Q All right. Going to Page 84, please. So
      6      A I may have asked him what happened, but not           6   there's a series of questions on here about whether
      ?   specifically what crime was committed, no.                 ~   you could have interceded or whether you should have
      $      Q But you asked him what happened after the             $   interceded. So I will ask the first question: As we
      9   fact, correct?                                             ~   sit here today, do you feel at any time that Officer
     ~o      A Correct.                                            10    Lopera was applying the LVNR that you could have
     11      Q When you arrived, did you see any injuries          1~    interceded to stop the application of the LVNR?
     1z   on OfficerLopera?                                        12       A Yes.
     i3      A No.                                                 13       Q And then when -- the next question kind of
     z4      Q When Officers Trap and Flores arrived, did          i~    at Line 17, it says: "So now we have got Iran and
     i~   they conduct themselves in accordance with their         15    Flores there. Do you think if you, as a supervisor,
     16   training?                                                16    can step back and assess it, could you have
     1~      A Yes.                                                '
                                                                   1     interceded?"
     le      Q At the time that you first told Tashii (sic)      ( ig          And what was your answer?
     i9   to release the LVNR, did you believe that Lopera had   i 19       A "I could have."
     20   control of Tashii?                                     i 20       Q What's a debrief of an incident?
     zl          MR, ANDERSON: Objection. Form. I think            21       A A debrief, the way it's being used here, is
     22   you have the wrong names there.                          ~2    just an informal discussion between the people
     z3          MR. LAGOMARSINO: Oh, I'm sorry. I7t               23    involved in the incident about the tactics that were
     24   rephrase it.                                             24    employed duzing the incident. And basically we go
     2s          ///                                               zs    over everything from the very beginning of the call,



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      1   who was the first to respond, who was the first to      ~         i      A It depends on the person. I've seen people,
      2   arrive, what tactics did we employ, how well did we      ~        z   watched people get tried with one cycle or less, and
      3   communicate, what levels of Force were we in, what                3   as soon as that cycle ended, they immediately
      4   was the crime, what -- all that kind of stuff.                    4   complied and put their hands behind their back. I've
      5      Q And no debrief was conducted here, correct?                  5   always observed that people are able to talk while
      6      A No.                                                          6   being tried, because Iremember -- now this is going
      ~      Q And is that because he passed away?                          ~   back 11 years probably, but I was present while an
      e      A That is because I was noticed by CIRT that T                 8   officer tried a guy. And the officer is saying, "Put
      9   was not allowed to speak about the incident while I               9   your hands behind your back," and the kid is saying,
     to   was under investigation.                                         10   "I can't right now," while he's being tried. But as
     11      Q Did you, yourself, provide any medical                      i1   soon as that cycle ended, the gentleman put his hands
     i2   treatment to Tashii?                                             12   right behind his back.
     13      A No.                                                         i3      Q Complied. Okay.
     14      Q So you were asked the question --                           19         So then Page 97, you were asked: "Based on
     is         MR, MCNIJTT: 90?                                           15   the training that you have received during your time
     1s         MR, LAGOMARSINO: I'm sorry, 95. I'm sorry,                 16   on the department, do you think you were adequately
     17   96.                                                              17   prepared to handle this incident?"
     la   BY MR. LAGOMARSINO:                                              18         And what was your answer?
     19      Q You stated: "Well, I'm -- my -- the Officer                 19      A I said: "No, not entirely. Um, I'm not
     20   Lopera could have more appropriately chosen his force            20   sure how I could be. I'm not -- I -- I can't give
     z1   options."                                                        21   you a recommendation on how to better train other
     zz         As you sit here today, do you believe that                 22   than to experience it."
     23   he could have appropriately chosen his force options             23      Q Okay. Next question at Page 98, JR says:
     24   better?                                                          24   "Okay" -- excuse me, at Line 10: "Okay. So critical
     25      A Yes.                                                        25   training is a perishable skill?"

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                                                                                                                             109

      i      Q How could he have done it better?                       I    1          What does that mean to you?
      2       A I mean, I can't give you any -- any                         Z      A Basically -- well, what they were asking me
      3   different way to do it that would guarantee a                ~    3   earlier was, is there any type of a scenario that we
      4   different outcome, by any means.                             I    4   could put new sergeants, continuing sergeants or
      S      Q There's no guarantees, right?                                S   supervisors through that would better train you on
      6       A Right. And Iran -- I could sit here for                     6   how to handle this. And we -- we do great training
      ~   hours and play devil's advocate about all of it. Tf               ~   at Metro, but what I was conveying is that you just
      e   you were talking about the trier, you know, policy,               8   can't train for the actual real thing. Again, too
      9   it says you should considez another force option                  9   many variables. It's just not the same as -- as
     io   after three cycles. But there's a lot that depends               10   close as you can get in training. Not that the
     il   on that.                                                         11   training is bad.
     lz          Lopera was alone. Xou know, I mean, officer               12          And what he is saying as far as iYs a
     13   presence is a force option. Had his partner not lost             13   perishable skill is that the more often you go out
     14   tzack of him, I believe less force would have been               14   and do the job of being a supervisor or being an
     1s   used. So many, I'm not sure where to start with you.             15   officer or whatever, the better you're going to be at
     16   There's a lot of variables here.                                 16   it. If we take a sergeant who's been a deteceive
     17       Q Well, I'll go through them with you. Let me                ~~   sergeant for ten years, an inside cat, if you will,
     la   ask about the trier. What does neuromuscular                     1B   and put him out on the street, it's going to take him
     19   incapacitat9on rraean?                                           19   some time to get back up to speed.
     zo       A Commonly referred to as "lock up," when the                20      Q You had mentioned here, the only type -- the
     zl   person is basically -- the person goes stiff and             ~   21   only kind of training you could do to them would be
     zz   doesn't have control over thezr movement.                        22   RBT. What does RBT stand for?
     z3       Q Is a person's ability to respond to commands               23      A Reality-based training.
     z4   in a physical way impaired by being tried repeatedly,            24      Q What is that? Is that what you just
     zs   based on your training?                                          25   described?
                                                                       i


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      1       A Pretty much. We try to have role players                 1         MR. LAGOMARSTNO: No, that's fine.
      2    and set up a critical incident.                               2   BY MR. LAGOMARSINO:
      3       Q .And was there any training for this scenario            3     Q Going to Page 10 of the report, which is
      4    in the reality-based training context?                        4   LVMI'D 2067 at the bottom, it mentions it at 5:03, but
      5       A No.                                                      5   did Officer Lopera state to you that, quote, I choked
      6       Q Based on your review of the document today,              6   him out, referring to Tashii Farmer?
      ~    does that appear to be a true and correct copy of             ~     A Yes.
      8    your CIRT statement?                                          $     Q And then there's an entry at 6:38 where it
      9       A Yes.                                               (     9   says: "O~cer Lopera told Officer Flores and
     to          (Plaintiffs Exhibit No. 3 was marked              ~    10   Rybacki what happened. And during the conversation,
     11           for identification.)                             ~    11   he stated, 'I started whaling on the dude, and then I
     iz    BY MR. LAGOMARSINO:                                     j    12   rear-mounted and choked him out."'
     13       Q What is E~chibit 3?                                I    13         Were you present for that conversation?
     14       A This is my statement to FIT.                        ~   14      A No.
     15       Q How many pages is it?                              !    is     Q Do you know where you were at the time?
     i6       A They're not numbered. Hang on. Oh, there           i    16      A 1Vo.
     17    at the top, sorry. Seven.                                    17      Q Arear-mounting can be accomplished by -- in
     18       Q Does this appear to be a true and correct               18   an LVNR, correct?
     19    copy of your FIT statement?                                  19      A I don't know.
     20       A Yes.                                                    20      Q On Page 11, Lopera says: "Sazge, is he
     21          (Plaintiffs Exhibit No. 4 was marked                   ~i   okay? He's breathing? Officer Lopera then gives the
     22           fox identification.)                                  27   thumbs-up sia and says `Thank you."'
     23    BY MI2. LAGOMARSINO:                                         z3         Did you tell Officer Lopera that he was
     z4       Q I'm handing you what's been marked as                   24   breathing?
     ZS    Exhibit 4. What does Exhibit 4 appear to be to you?          zs      A Yes.


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      1       A Force investigation team. report.                        1      Q Then it says: "Officer Lopera asked if he
      2      Q Have you reviewed this report before?                     z   should expedite medical."
      3       A Maybe. There's so many reports.                          3         Do you recall him asking that?
      4      Q So I would like you to take a look at -- you              9      A I don't.
           can take a couple of minutes or take a break if you           5      Q Was medical expedited?
       6   need to, but -- well, let me -- have you ever watched         6      A Medical had been expedited long before that.
       ~   Officer Lopera's body camera footage?                         '      Q At 1125 it says: "Officer Rybacki
       a      A T have watched -- the longest version of the             e   approached Officers Flores and Tran. One of the
       9   body camera footage that T have seen was the one that         9   officers said he was out when we got here. Officer
     io    was presented at the police fatality public                  10   Itybacki ~esponded,'He was definitely on something."'
     i1    fact-findzng review. I watched that after it got             1i         Do you know which officer, Flores or Tian,
     i2    posted up on the intemet. ThaYs the longest                  12   said that he was out when you guys got --when they
     ~3    version I've ever seen.                                      13   got there?
     14           MR. MCNUTT: Andre, can I just ask him?                14      A I don't know.
     '-~          MR. LAGONLAR.STNO: Xeah.                              1'      Q Then there's a reference at 4:09 with
     i6           MR. IvICNUTT: Where did thae video start? Do          16   Officer Stutzman. It says: "Officer Stutzman began
     17    you recall? On that -- the version that you saw,             17   talking to Officer Flores. Officer Flores stated,
     1e    what was the first portion that you saw?                     18   quote, By the time we got here, Sazge, and what's
     19           `f'F~ WITNESS: Inside the Venetian, I                 19   that guy? Lopera were wrestling azound with that
     20    believe.                                                     z0   guy. Had him in a lock. t gzabbed the guy's feet,
     2i           MR. MCNUTT: Okay. It started -- okay.                 zi   but he was already out."
     2z    Before the foot pursuit?                                     22         Were you present fox that conversation?
     z3           Tf-IE WITNESS: Correct.                               23      A No.
     ~4           MI2. MCNt1TT: Okay. I didn't know which               24      Q Please turn to Page (6. This is LVMPD 2073.
     25    version that was.                                            ?S   "Numerous yellow/pink AFTD tags beazing serial number



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      1    TSC C31040 were located on the roadway."                   ~          A The moment that I arrived?
      2          What is that?                                        z          Q Yes.
      3       A So those are the confetti that I was talking          3          A It was -- all I knew was obstructing or
      `~   about that comes out of the laser camidge. And the         4       resisting, because Fazmer was resisting arrest.
      5    area that they're talking about -- I'm probably            5          Q Okay. Was that a severe crime?
      6    jumping ahead, but t thznk what you're asking is the       6             MIZ. MCNUTT: Objection. Form.
           area where that confetti is and the location where         ~             THE WITNESS: If it's just a resisting of a
       8   Fanner was placed in handcuffs, however many lanes         8       public officer, it's a misdemeanor. If it's
       9   wide that road is between the Jersey barrier and the       9       resisting a public officer with a weapon, it's a
     '-~   curb, that's the distance between.                        10       felony. It depends on the factors, T suppose.
     ~1       Q Could you please tum to Page 2089. So it's           ~i       BY MR. LAGOMARSINO:
     12    not the best copy here, but what zs that graphic?         12          Q At the onset of the incident, there`s a
     13       A IYs our use-of-force model.                        I 13       reference here, Number 2, that Fazmer was not posing
     i4       Q Are you able to read the text in there?            I 14       a threat to anyone at the onset of the incident. Do
     is       A Vaguely. Probably from memory, I can               I 15       you agree with that, having reviewed the video?
     1s    probably tell you what it says.                         j z6          A Yes.
     17       Q Okay. So it says: "It's important for                i~          Q It says: "During the subsequent BCA cycles,
     i$    officers to bear in mind" -- strike that. At the          -8       Fazmer was displaying passive and active resistance."
     19    very bottom here.                                       ! ~9              Do you agree with that?
     zo       A Yes.                                                 20          A Yes.
     2~       Q It says, "LVMPD policy and levels of               ~   2~        Q It says: "Prior to and during the repeated
     22    resistance states, quote, It is important for           j   22     strikes to Farmer's head, Fazmer was displaying
     23    officers to beat in mind that there are many reasons        23     passive and active resistance."
     z4    a suspect may be resisting arrest or may be                 24            Do you agree with that?
     zs    unresponsive. The person in question may not be         ~   25        A Yes.

                                                  Page 115         ~                                                 Page 117

      1    capable of understanding the gravity of the                   1       Q And then "When Officer Lopeza placed Farmer
      2    situation. Officers must consider several factors              2   in what he called the 'rear naked choke,' Farmer was
      3    when dealing with a noncompliant subject. Subject       i      3   displaying passive and active zesistance."
      4    may be noncompliant due to a medical condition,         j      4         Do you agree with that?
      5    mental, physical ar hearing impairment, language        '      S      A Which part of it?
      6    barrier, drug interaction ox emotional crisis and              6      Q Well, feel free to break it up.
      ~    have no criminal intent."                                      ~      A Well, I suppose he did call it a "reaz naked
      $           Do you agree with that sentence?                        g   choke," so I guess I can agree that he called it a
      9       A Yes.                                               i      9   rear naked choke. And I agree it was passive and
     to       Q It says: "This may not make the subject any        i   '- 0   active resistance.
     11    less dangerous, but it may require a change in          I   i1        Q Do you believe it was a rear naked choke?
     12    tactics that will be more effective while maintaining       l~           MR. IviCNLITT': Objection. Form.
     13    officer safety once these circumstances are known to    ~   i3           TIC WITNESS: No.
     14    the officer."                                               14     BY MR. LAGOMARSINO:
     is           Is officer safety recognized as a reason to      ~   i'        Q When an officer is dealing with a dynamic
     16    deprive an individual of their constitutional rights?   I   z6     situation, what does -- let's start with, what is a
     17           MR. MCNUTT: Objection, form.                         17     dynamic situation by definition, or fluid or...
     la           TT-tE WITNESS: No.                                   1e        A Tt can be a lot of different things. It
     19    BY MR. LAGOMARSINO:                                         i9     could be a pursuit, a vehicle pursuit, a foot
     20       Q Going to 33, Page 33, aze you farniliaz with           20     pursuit, a fight, a shooting.
     21    the Graham v. Connor £actors?                               27        Q Tt's changing events, correct?
     22       A Yes.                                                   22        A Yes.
     23       Q So there's a discussion here about the                 23        Q So is an officer allowed to -- IePs say --
     24    severity of the crime at issue. Tn your view, haw           24     strike that.
     zs    severe was the crime at issue?                              Zs           Lets say a subject or a suspect decides to



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      1   surrender. Is the officer allowed to punish that              i          So taking it down to the bottom of Page 34,
      2   suspect or use force against them once they've                z   it says: "LVMPD policy states an officer may
      3   surrendered?                                                  3   initiate a foot pursuit of any individual if the
      4         MR. ANDERSON: Objection to form.                        4   officer reasonably believes he is about to engage in,
      5         THE WITNESS: No.                                        5   is engagzng in ox has engaged in criminal activity.
      6   BY MR. LAGOMARSINO:                                           6   As Officer Lopera began to chase Fanner, he had no
      ~      Q Now, the next factor here, it says: Number               ~   reasonable suspicion or probable cause to believe
      6   3, "Whether the subject is actively resisting or              °   that Farmer was going to engage in ox was involved in
      9   attempting to evade the arxest by flight."                    9   any criminal conduct."
     to         Now, do you agree that Tashii ran for an             10            Do you agree with that?
     11   unknown. reason?                                           11         A No.
     12      A Can you be more specif- -- based on the               12         Q And why do you disagree with that?
     13   video that I saw?                                          13         A Well, a couple reasons. On the video, I
     14      Q Xeah.                                                 14     believe, Farmer states to officers that he -- someone
     1s      A That he ran for an unknown reason?                    '-5    was chasing him. So he may be a victim of a crime,
     i6   Certainly. T don't know his reason.                        i6     he znay be a suspect in the crime if he's being
     l~      Q Based on your review of the video, did                '-~    chased. And I believe he says that he ran across the
     18   Lopera txy to grab Tashii?                                 18     street, jaywalking, so, yes, he is admitting to a
     19      A At the beginning of that video?                       '- 9   very minor, admittedly, misdemeanor.
     20      Q Yeah.                                             (   20            And then I would expect any of my officers
     21      A I think so, yeah.                                 (   21     to detain someone who flees through the back o£ the
     2z      Q Okay. What justification would Lopera have            22     house of a hotel, casino.
     z3   had to try to grab him at that point?                  j   23         Q Okay. Did Tashii say he was jaywalking?
     24      A Without reviewing the video, I can't              ~   24         A Tf he ran across the street on Las Vegas
     25   remember exactly where they were at the time. Tf       i   25     Boulevazd where we have bridges that have been built
                                                                -I                                   ----
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      1   Lopera believed that Farmer has been, is committing    ~     1    for millions of dollars, then he jaywalked, because
      z   or is about to commit a crime, then he's got                 2    we don't have crosswalks on the ground. So I think
      3   reasonable suspicion to detain him.                    ~     3    that's what they assumed.
      4      Q Okay. Now, the day of this report, on the               4       Q There's some crosswalks over by the
      5   first page is 8/1 of'17.                                     5    Venetian, correct?
      6      A Okay.                                                   6       A There are. I believe he said "T almost got
      ~      Q Are you aware of whether the drug test                  '    hit by a caz," which maybe would lead someone to
      8   results were back at the time of the incident?               e    believe he was jaywalking.
      9      A On 8/l?                                                 9       Q Going to Page 35. It says: "Officer Lopera
     to      Q yeah_                                                 io     told Farmer" -- sorry. Second full pazagraph. It
     1~      A I don't know.                                         '-1    said: "O~cer Lopera told Farmer to get on his
     z2      Q Now, it says on the influence of drugs or             12     stomach several times but never gave Farmer a
     13   alcohol, itjust says: "Due to the fact that Officer        13     reasonable opportunity to comply with commands before
     14   Lopera did not provide a statement, this cannot be         14     cycling the ECD again."
     is   answered."                                                 15            Do you agree with that?
     16          I guess I'm supposing if they were back,            16        A I'm sorry, I'm trying to find the line --
     17   then, at Least, that could be answered, correct?           17     these don't have line numbers.
     18      A No. I believe that is based on the fact           i   ~g        Q I apologize. Right there, the second
     19   that without a statement from Lopera, they weren't         19     sentence there. It says: "Officer Lopera told
     20   willing to -- how do I put -- I don't know.                z0     Farmer to get on his stomach several times but never
     2z      Q What T`m hying to assess, what Lopera was             Zz     gave Farmer a reasonable opportunity to comply with
     z2   thinking, right?                                           22     commands before cycling the ECD again."
     z3      A Right.                                                ~3            Do you agree with that?
     24      Q And so that's why they were unable to answer          z9        A No.
     25   that.                                                      25        Q And why do you disagree with that?



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      i      A Like I testified a little bit ago, I've seen       ;        1         T'HE VIDEOGRAPHER: We aze going off the
      2   multiple subjects comply immediately. And watching      ~        2   record. The tame is approximately 2:19 p.m.
      3   that video, I heaz the, what is it, "T will," but       i        3         (Off the record, after which Ms. Farmer
      9   people who are compliant move much faster. I mean,               4          and Ms. Day did not return to the room.)
      5   probably no one in this room has ever been tared, and   ~        5         T'HE VIDEOGRAPHER: The time is approximately
          hope you never are, but if you do, iPs motivating to    (        6   2:29 p.m. We aze back on the record.
      ~   comply for most people.                                 I        '   BY MR. LAGOMARSINO:
      8      Q And then it says: "Officer Lopera's verbal                  e      Q What's the standazd under the Fourth
      9   commands also contradicted each other, telling                   9   Amendment with respect to how much force a police
     1~   Farmer, quote, Don't move, quote, follow by a command   I       10   officer can use when they're making an arrest?
     1i   to get on your stomach, quote."                         ~       1~         MR. ANDERSON: Objection. Form.
     1z         Do you agree with that?                                   12         THE WITNESS: To overcome res9stance,
     13      A It's possible, yes.                                        13   prevent escape and take into custody.
     14      Q The trier policy for the ECD is recited in                 i4   BY MR. LAGOMARSINO:
     ~s   the next paragaph. Did Officer Lopera violate that              ~5      Q Fair to say that you can only use so much
     is   policy?                                                         ~6   force in making an arrest as is objectively
     i~      A The policy itself is a little bit                          i~   reasonable?
     i8   contradictory because it says at the end there,                 19      A Correct.
     1s   "shall be deemed ineffective and another force option           19         MR. LAGOMARSINO: Okay. All right. E~chibit
     Zo   will be considered," which kind of contradicts the              20   5, please.
     zi   "shall." Because if you're considering another force            '1         {Plaintiffs E~ibit No. 5 was marked
     22   option, then you could consider to remain with the              22          for identification.)
     23   force option youie using.                                       23   BX MIL LAGOMARSINO:
     24         And I maybe touched on it a little bit                    24      Q Exhibit 5 is a printout of the New Xork
     25   earlier, when you're alone, if you're getting some              25   Times article about this case, dated May 17, 2017.


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      1   level of control or compliance fxom the force option             1   Ct talks about a press conference put on by Kevin
      2   you're using, then it might be reasonable to stick               2   McMahill. Who's Kevin McMahill?
      3   with that one, because you don't necessazily want to             3       A I-Te is the undersheriff of Las Vegas
      4   give up something that's partially working to move to            4   Metropolitan Police Department.
      5   another force option that might not work at ati.                 5      Q Did you watch that press conference?
      6      Q Okay. Next pazagraph, it says: "After                       6       A Pazts of it, at least.
      ~   cycling the ECD seven times, Officer Lopera holstered            7       Q CJndersheriff McMahill stated that had he
      8   his ECD. With Farmer lying on his stomach, Officer               e   survived, Tashii Farmer would have faced no charges.
      9   Lopera straddled Farmer's back and struck him                    9   Do you agree with Undersheriff McMahill?
     to   approximately 10 to 12 times in the head while giving           10       A I disagree.
     11   Farmer verbal commands to get on your stomach.                  1~       Q On what basis?
     12   According to LVMF'17 policy, officers should only use           12       A Due to the fact that Tashii Farmer went
     13   hand strikes when a subject is displaying aggressive            13   through the back of the house of the Venetian,
     14   or aggravated aggressive resistance."                           14   probably, if I had to put my best guess to it, 50 or
     is         So did Officer Lopeca violate the policy on           ~   15   100 times a year we would detain someone who would be
     z6   hand strikes?                                                   16   found in the back of the house, generally by
     17         MR. MCNLTTT: Objection. Form.                         i   17   security. We're not necessazily patrolling the back
     18         TkIE WITNESS: Potentially, there -- if you                1a   of the house.
     19   look in the tactical review board transcript, there             19       Q Right.
     2o   was quite a bit ofback-and-forth over how many                  2°       A And that person could definitely face a
     2i   strikes were thrown, how many strikes landed, but,              z1   charge of trespassing at a minimum.
     z2   yes, potentially.                                               22       Q Okay. In order to chazge someone with
     z3         NIR. LAGOMARSINO: Okay. Let's take a                      23   trespassing, don't you have to read them a warning
     24   five-minute break.                                              2d   first?
     25         MR. MCNtITT: Reading my mind.                             2S       A That's trespass on land after warning. You



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     1    also have trespass signs posted, and you have                         i   BY MR. LAGOMARSINO:
     Z    trespass, like, fenced area, where if the owner of                    ~      Q Can the LVNR be used to kill somebody?
     3    the property is taking reasonable steps to keep                       3        MR. MCNUTT: Objection. Form.
     4    people off a certain part of the propezty, then it's                  4        THE WITNESS: Not from the way we're
          reasonable to believe that the general public                         5   gained.
     6    shouldn't be on the property.                                         6   BY MR. LAGOMARSINO.
     ~       Q Okay. So let's say Tashii would have                             ~      Q Okay. If it's incorrectly used, can it kill
     e    survived and then you would have had a chance to                      e   somebody?
     9    review all the video from the incident, would you                     9      A I don't lmow.
    io    have recommended charges?                                            ~°      Q Were you trained that if it was incorrectly
    11       A Yes.                                              ~,            11   applied that it could kill somebody?
    1z       Q For trespassing?                                   ',           12      A Not that I recall.
    13       A Xes.                                                            13      Q If you wanted to, you could have put your
    14       Q Is trespassing a severe crime?                    ',            14   hands on Ken and attempted to remove his arms from
    1s       ,q No,                                                            1s   Tashii's neck; is that correct?
    16       Q Tashii was unazmed, correct?                       ~            16         MR, MCIVIJTT: Objection. Form.
    17       A Correct.                                                        17         THE WITNESS: Xes.
    1$       Q By the eime you got to the scene, Tashii                        18   BY MR. LAGOMARSINO:
    19    posed no thzeat to your safety, correct?                             ~9      Q Okay. Did you do anything by accident that
    Zo       A I wouldn't say no. He did pull his arm away                     20   day?
    zl    from me, and it was my perception that he was                        21      A Yeah. When I got out of my car, I shot off
    22    struggling the entire time we were trying to put him                 22   my siren and I accidentally hit the buttons for the
    23    in handcuffs. So I wouldn't say zero.                    I           23   radio and the PA on my control, which caused -- when
    z4       Q On a scale of l -to-100 or 0-to-100, what                       24   I keyed zny microphone, it broadcast whatever was
    ZS    would you say he would -- 100 being the maximum         ;            zs   coming over the radio over the PA speakers on the


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      1   threat?                                                               i   front of the caz. Tt was pretty loud.
      z      A I mean, based on that I knew that Lopera had                     2      Q Besides that, did you do anything by
      3   been in a foot pursuit, struggle with Farmer for at                   3   accident?
      4   least a minute, maybe closer to two minutes by the                    4      A Not that I remember.
      5   time I got there, coupled with him pulling away, I'd         ~        5      Q Was everything that you did with respect to
      6   put it at 30.                                                         6   Tashii intentional?
      ~      Q When Tashii was on his back with his hands                       ~      A Yes.
      g   raised, was he a threat at that point?                       ~        8      Q When you were assisting Lopera, you were
      9      A No.                                                     ~        9   assisting him to help subdue `I'ashii; is that correct?
     ~o      Q Now, as a police officer, you're supposed to                    10      A I was assisting him to take Tashii into
     ~z   know the law, correct?                                               1l   custody.
     iz      A Yes.                                                            12      Q And did you criticize Officer I.opera in any
     13          MR, MCNUTT: Objection. Form.                                  13   way at the scene?
     14   BX MR. LAGOMARSINO:                                                  14      A I don't think so.
     is      Q And you're supposed to be trained on how not                    is      Q Now, Tashii was being held in a neck
     16   to violate a suspect's constitutional rights,                        16   restraint against his will, correct?
     17   correct?                                                             17         MR. ANDERSON: Objecrion. Form.
     le      A Xes.                                                            18         THE WITNESS: I don't think he was -- I
     19      Q Is the LVNR an acceptable means of deadly                       19   don't think he asked to be put in a neck restraint,
     zo   force?                                                               20   no.
     Zi          MR. ANDERSON: Objection. Form. Will you                       21   BY MR. LAGOMARSINO:
     2z   rephrase that?                                                       22      Q Ike did not consent to it, correct?
     z3          T'I~ WITNESS: No.                                         I   23      A I don't think so.
     24          MR. LAGOMARSINO: Sure.                                    ~   z4      Q When you have an individual in custody --
     zs          ///                                                           25   sorry.



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      1         When you have an individual in custody, as            i          for identification.)
      2   an officer, do you have a duty to protect them £rom         z   BX MR. LAGOMARSINO:
      3   ham?                                                        3      Q I'm showing you what's been marked as
      4     A Xes.                                                    4   Exhibit b, the case of United States v. Mendenhall.
      5     Q And you have a duty to protect them from                5   Have you ever heard of this case?
      6   harm regardless of whether that harm comes from             6      A Maybe.
      ~   another officer or a third party, correct?                  '      Q Okay. I just want to ask you some questions
      $     A Correct.                                                8   from the case to see if you agree with the United
      9     Q Did Tashii have a right to be free from                 9   States Supreme Court in this decision. See the
     to   cruel punishment?                                          10   bottom right-hand corner there, some faint numbers?
     11     A Yes.                                                   11      A Yes.
     lz     Q Did Tashii have a right to be free from                12      Q Will you please turn to Page 5. The bottom
     13   inhumane treatment?                                        z3   under A, it says: "The Fourth Amendment's
     14     q yeS,                                                   14   requirement that searches and seizures be founded
     1s     Q When Tashii was in the neck restraint, he              ~5   upon an objective justification governs at] seizures
     16   was helpless, correct?                                     16   of the person, including seizures that involve only a
     17         MR. ANDERSON: Objection to form.                     z~   brief detention short of traditional arrest."
     1$         THE WITNESS: No.                                     1e         Do you agree with that?
     19   BY MR. LAGOMARSINO:                                        19      A Xes.
     20      Q How was he not helpless?                              20      Q And going to the top of the next column, it
     21      A At the very minimum, he was still able to             21   says: "Only when the officer, by means of physical
     22   pull his arm away from me.                                 27   force or show of authority, has in some way
     z3      Q Besides that, how was he not helpless?                23   restrained the liberty of a citizen may we conclude
     24      A Can you describe "helpless" more, I aess?             24   that a seizure has occurred."
     25      Q Besides being able to move his arm, "I'ashii          25         Do you agree with that?

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      i   was not independently able to get away from Officer         i      A Xes.
      z   Lopera, correct?                                            2      Q When by means of physical force -- strike
      3          MR. ANDERSON: Objection. Form.                       3   that.
      4          THE WITNESS: Well, he was under arrest. He           4         When by means of physical force or show of
      5   wasn't free to go.                                          5   authority was Tashii Fazmer seized?
      6   BY MR. LAGOMARSINO:                                         6         MR. ANDERSON: Are you asking based upon the
      ~      Q Well, once he was in the neck restraint, he            ~   video?
      8   was never able to get out of it until he was let go,        8         MI2. LAGOMAI2STN0: Yeah, based on the video.
      9   correct?                                                    9   Thanks.
     to      A Correct.                                              ~a         TFIE WITNESS: Welf, the first show of
     z1      Q Did you, as a sergeant on the scene, have a           it   authority, 7 suppose, probably would have been when
     12   duty to protect him from any harm once he was in the       12   Lopera is still inside the Venetian inthe -- the
     ~3   choke hold?                                                13   food court says stop or whatever he says to him.
     14          MR. ANDERSON: Objection. Form.                      14   BY MR. LAGOMARSINO:
     1s   BY MR, LAGOMARSINO:                                        15      Q When an officer grabs somebody, is that
     l6      Q Strike that.                                          16   considered a seizure?
     1~          Did you as a police officer have a duty to          ~~      A Maybe I'm overthinking this here, but isn't
     1$   protect Tashii from any harm once he was in the neck       ie   there also -- don't we have to have a sign that the
     19   restraint?                                                 19   person is complying for then an arrest to take place?
     2o          MR. ANDERSON: Objection. Forth.                     Zo   I'm sorry. Maybe I'm getting too faz ahead of you.
     zi          T'HE WITNESS: Duty to protect him once he is        zi      Q That's okay. Let me rephrase. Can you
     2z   in -- if that neck restraint were to be deemed by me   I   ~?   please turn to Page 6.
     z3   to be inappropriate, sure.                                 23      A Sure.
     24          MR. LAGOMARSINO: Okay. Exhibit 6.                   29      Q See on the top right --
     25          (Ptaintif£s Exhibit No. 6 was marked                25      A I can't --



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       1      Q Sorry. The right-hand column, end of the                1        Q Does he still work for Metro?
       Z   first paragraph up top where it says: "Plainly, in           z        A I think so.
       3   the latter event, there was no seizure until the             3        Q And do you know who Gary Clark is?
       4   police officer in some way demonstrably curtailed            4        A No. I don't think the other two work for
       5   Sibron's liberty."                                           5     Metro anymore.
       6          So with respect to Tashii, there's no                 6        Q Do you know Radmanovich?
       ~   seizure until somebody demonstrably curtails their           ~        A No.
       $   liberty, correct?                                            e        Q What's the case where Metro was sued for
       9       A Okay. Xes.                                             9     using a choke hold and other force against Barnard?
     1o       Q And for you, you think that starts when --             1°     Have you ever been trained about this case?
     11    when?                                                       11        A I have heard -- I think I have heard about
     12        A Demonstrably curtailed liberty, I would say           12     this case. Was this in, like, a motel?
     ~3    wt's snore like the first taring probably.                  13        Q It looks like they went to Barnard's house,
     14        Q Okay. His freedom of movement was                     14     execute an arrest warrant.
     7-5   restrained at the first taring, correct?                    ~5        A I think I've heard of it, yes, I think so.
     16        A Yes.                                                  16        Q So iYs -- go to the bottom of Page 2 on the
     ~~        Q Did you use physical force on Tashii?                 i~     right. It says: "Clazk came over to Chazles, who
     la        A Handcuffing, yes.                                     18     was still laying on top of Theobald, and put Charles
     19        Q And, obviously, Lopera did as well, correct?          19     in a choke hold. Clark then tried to tilt Charles up
     20        A Yes.                                                  20     by his neck. Theobald, however, still had ahold of
     21        Q VJho else used physical force on Tashii?              21     the handcuff around Charles' right wrist."
     22        A Officers Iran and Flores assisted with                z2           Is it ever appropriate to try to lift
     23    handcuffing.                                                23     somebody up by their neck?
     z4        Q Okay. Xou were wearing a badge that night,            24        A If you were in deadly force maybe.
     25    or were you plain clothes?                                  25        Q Okay. "Here Officers Theobald and

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      1       A 1 had a patch.                                            i   Radmanovich ordered the plaintiff to give them,
      z       Q O[cay. Tf somebody looked at you, would you              z    quote, his motherfucking, quote, azms."
      3    expect them to know that you're a police officer?              3         Does Metro train on use of profanity on
      4       A Yes.                                                      4   citizens when you're taking them into custody?
      5       Q Okay. Do you agree that once a neck                       5      A Like I testified to earlier, it's
      6    restraint has been applied to a suspect that there's           6   discouraged generally, It could be construed as
      ~    a need to closely monitor the suspect?                         ~   discourteous, but sometimes strong language is
      $       A Yes.                                                      $   appropriate to potentially prevent use of actual
      g       Q Prior to this incident -- strike that.                    9   physical force.
     to          Qt the time of the incident, was the LVNR             i°        Q Okay. Then going to Page 4, referencing
     i1    allowed to be used in circumstances where officers or       i1     decisions, it says: "We explained that the officers
     1z    third parties were not at risk of physical injury?          12     were not entitled to qualified immunity, because
     i3       A Tt was in a lower level of the use-of-force            13     construing the evidence in the light most favorable
     14    policy, yes.                                                1°     to the plaintiff at the time of the incident at issue
     1s          MR. LAGOMA.RSINO: E~chibit 7.                         15     here, a reasonable officer would have known it
     16          (Plaintiffs E~ibit No. 7 was marked                   16     violated clearly established law to use a choke hold
     17           for identification.)                                 17     on anon-arresting -- non-resisting arrestee who had
     18    BY MR. LAGOMt\RSINO:                                        16     surrendered, pepper spray him and apply such knee
     i9       Q I handed you what's been marked as                     '- 9   pressure on his back and -- on his neck and back that
     20    Exhibit 7. IYs Barnard v. Theobald, Clark,              ~   20     it would cause a collapse of five vertebrae in his
     zl    Radmanovich and Metro. Did you ever hear about this         21     cervical spine."
     22    particulaz case?                                            22           Do you agree with that statement?
     23       A Maybe. I'm trying to --                                23        A Xeah.
     29       Q Do you know Greg Theobald?                             24        Q Do you agree that a reasonable officer would
     25       A I know who he is.                                  ~   25     know at the time of the incident with -- well, strike
                                                                   i


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      i   that,                                                        i         "Metro's Fiscal Affaizs Committee approved a
      2         At the time of the incident with Tashii, did           z   $1 million settlement for James, Dorothy and Michelle
      3   you know that it would have violated a clearly               3   Boone, relatives of Dustin Boone, a 29-year-old who
      4   established law to use a choke hold on a                     4   died in November of 2009 affer an officer put him in
      ~   non-resisting arrestee?                                      5   a lateral vascular neck restraint. The restraint
      6          MR. ANDERSON: Objection. Form.                        6   cuts blood flow to the brain."
      ~          MR. MCNtJ'I'T: And incomplete hypothetical.           ~         Had you ever been trained on this case?
      g          T`HE WITNESS: Can you -- I'm sorry. Can you           8      A No.
      9   say it one more time?                                        9      Q Did you ever hear o£this case?
     io   BY MR. LAGOMAR.SINO:                                        10      A I don't think so.
     i1      Q I know you've said that Tashii was zesisting           1z      Q Had you ever heazd of any cases where --
     1z   either passively or actively. I'm just as[cing if           12   strike that.
     13   you -- of your state of mind as to the state of the         i3          I'm not talking about civil cases. kIave you
     14   law at the time, okay, on May 14th of 2017, did you         14   ever heard of any incidents in your capacity as an
     1s   know that it would violate cleazly established law to       is   officer, sergeant at Metro where somebody was
     16   use a choke hold on anon-resisting arrestee"                16   seriously injured when an LVNR was applied to them
     17      A Xes.                                                   i~   improperly?
     i$      Q If -- if a citizen is resisting you and                1e      A No.
     19   doesn't stop resisting, are you as arz officer still        i9      Q Are you aware that many police departments
     2~   allowed to use any amount of force you deem fit?            20   around the country have banned the use of the LVNR?
     zl          MR, ANDERSON: Objection. Fozm.                       zl          MF2. ANDERSON: Objection. Form.
     z2          Tf~ WITNESS: I think you're allowed to use           22          THE WITNESS: I think there's a lot of
     z3   force to overcome the resist- -- the minimal amount         23   police departments that never even employed the LVNR,
     z4   of force necessary to overcome resistance.                  24   but, yeah, T'm awaze that many don't use it.
     25         III                                                   z5          /lI


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      1   BY MR. LAGOMARSINO:                                          1   SY MK. LAGOMARSINO:
      2      Q Okay. Okay. So, I guess, stated                         2      Q Okay. And do you know why?
      3   diffecentiy, just because somebody's resisting you           3      A I think for one, to actually use the LVNR, X
      4   without a weapon and doesn't present the threat of           4   think you have to pay the guy who invented it, like,
          physical hazm to you doesn't mean that you can use      i    5   royalties.
      6   deadly force, correct?                                       6      Q Oh, really?
      ~      A Right. IYs the totality of the                          ~      A So that's probably part of it.
      $   circumstances. You would have to articulate why you          8      Q Maybe we should contact hizn and let him
      9   had to use deadly force.                                     9   know. I'm just joking.
     to      Q Are you aware that even when some force is             10         MR. MCNLJTT: You should depose Lindell.
     11   justified, the amount actually used can still be            11   $Y MR. LAGOMARSINO:
     1z   considered excessive?                                       1~      Q Yeah. It says here: "Some of Metro's
     13      A yes_                                                   13   largest settlements have come after the death of
     14          MR. LAGOMARSINO: All right. E~chibit 8.              14   someone put into the lateral vascular neck restraint,
     1s          (Plaintiffs Exhibit No. 8 was mazked                 15   a move that Los Angeles Police discontinued after
     i6           for identification.)                                16   several deaths in the 1980s. The estate of Charles
     17   BY MR. LAGOMARSINO:                                         17   Bush settled with Metro for $1.1 million after Bush
     18      Q All right. Exhibit 8 is an article. It                 18   died in 1991."
     19   says: "Metro police pay $1 million to family of             19          Is that the case you're thinking about that
     20   choke hold victim," Toe Schoenmann, May 23, 2011.           z0   happened in the mote(?
     21          Were you aware of this case?                         21      A Maybe.
     Zz      A Oh, is this not the same one we were just              ZZ      Q Did you ever hear about that case?
     23   going over? No.                                             23      A I thought I heard about one that happened in
     24      Q It says: "Metro physical officers -- sorry,            24   a motel with, like, undercover officers or something,
     zs   the second paragraph. I'll start over.                      ZS   but it was -- it had to have been a long time ago, so



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      1    it could be that.                                             1      Q And how were you advised of the statement of
      2       Q And had you heard of the case of the family              2   the complaint?
      3    of French citizen Philippe LeMenn who died in the             3      A I think they're probably saying -- the
       4   Clark County Detention Center in 2001 and settled for         n   statement of complaint -- sorry. Just to get into
      5    $500,00 in 2003?                                              5   the minutia of Metro, statement of complaint
      6       A Not specifically, no.                                    6   generally refers to something that IEB is
      ~       Q Were you able to tell one way or the other               ~   investigating. So they're talking about -- or
      8    whether Officer Lopera placed his forearm over                e   alleged policy violation. We're going with or
      9    Tashii's carotid artery?                                      9   alleged policy violation. So this is from the
     io       A I reznerraber seeing that Tashii's chin was in         ~o    tactical review board. It sustained me for the major
     11    line with his elbow when I glanced up just              ~   11    incident, all-hazard plan and body camera, so thaPs
     1z    momentarily, which would mean that it's propezly        ~   12    what they're talking about. Does that answer your
     13    placed.                                                 ~   13    question?
     z4       Q Does the LVNR consu-ict blood flow?                ~   14       Q Yes. When you were relieved of duty, how
     is       A Yes.                                                   '-5   long were you zelieved of duty for?
     16       Q Does unconsciousness occur from the LVNR or            16       A Until, I think, technically November 1st.
     17    can it?                                                     17          (Plaintiffs ExhihitNo. 10 was
     is       A Yes.                                                   18           marked for identification.)
     19       Q Okay. At the tune of the incident, when was            19    BY MR LAGONIARSINO:
     20    an LVNR allowed to be used?                                 20       Q What is E~chibit 10?
     2~       A 7 believe it started in active resistance              z1       A It looks like the top got cut off, but it's
     22    level of the police force policy.                           22    probably a return to duty form.
     23          MR. LAGOMARSINO: Eachibit 9.                      ~   23       Q It looks like you have the fax cover part
     24          (Plaintiffs E~ibit No. 9 was marked               !   z9    there?
     25           for identification.)                                 25       A Yeah. It looks like it got off; but I think

                                                   Page 143                                                         Page 145
      1    13X MR. LAGOMARSINO:                                         i    it -- LVMPD 117 is the form number. And from what
      2       Q What is Exhibit 9?                                      '    I'm reading, it's areturn-to-duty form.
      3       A This is my notice relieving me of duty.                 3        Q Between the date of the incident with Tashii
      4       Q How were you given that?                                4    and September 27th, did you still remain a sergeant?
      5       A I arrived -- well, I was on my way to work              S        A Yes.
      6    on whatever date this was, September 27th, and my            6        Q And when you were placed -- when you were
      ~    lieutenant at the time texted me and said, "See me in        ~    relieved of duty between September 27th and, it says
      8    my office before briefing."                             ~    $    here --
      9           I actually got to work a little bit eazly,            9        A That's when they returned me to duty. I was
     to    put on my uniform, walked into his office, and he           to    non-confirmed on November 1st.
     11    said, "Oh, you got dressed."                                11        Q So between November 1st and September 27th,
     12           And I said, "Oh, are you relieving me of             12    were you relieved of duty with pay or without pay?
     13    duty?"                                                      13        A With pay.
     14           He said, "Yes."                                      14        Q Okay. Did you go out of town at alt during
     1s       Q Did he secure your rifle?                          ~   is    that time?
     1s       A Yes.                                                   1s        A No.
     17       Q Does this appear to be a true and correct              17        Q When you returned to duty, what position
     1e    copy of the relief-of-duty document?                        1e    were you placed in?
     19       A Yes.                                                   19        A Police off- -- patrol officer.
     zo       Q Tt says here in the bottom: "I acknowledge             20        Q 2?
     21    that T have been admonished regarding the SOC or            zi        A Yes.
     zz    alleged policy violation that has led to my being           22        Q There's POl, P02. Is there a P03?
     23    relieved of duty."                                      ~   23        A No.
     24           WhaYs SOC?                                       ~   24        Q Next step up is a sergeant, correct?
     25       A Statement of complaint.                                25        A Yes.



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      i      Q Did you stay at the same squad?                          1      Q Okay. Going to the ne~ct page, under 45, it
      2      A No.                                                      2   says: "A guide to UMLV for supervisors and training
      3      Q Did they tell you why you were to change                 3   coordinators."
      4   squads?                                                       9          Whafs UMLV?
      5      A Well, so you're changing your                            5      A That's this program that you're looking at
      6   classification, so there may not be room on the squad         6   right here, this training record, some courses are
      ~   that you were just a sergeant of. Plus, it would              ~   online, some courses are classroom, but it's all
      $   kind of be weird if you were now an officer. So               8   managed through this program. Soto look at -- so
      9   you'd go wherever there are vacancies on the                  9   this class you're talking about is forme to look at
     to   department. So I went to swing shift in the                  10   my squad and make sure that they're up to date on
     1i   northwest area command.                                      ~~   their paining.
     1z         (Plaintiffs Exhibit No. 11 was                    ~    1z      Q Okay. A,nd then beneath it, "Trier use
     13          marked for identification.}                           13   warning," is that required?
     14   BY MR. LAGOMARSINO:                                          i4      A Yes. I'm sure it was.
     z5      Q I'm handing you E~chibit 11. It starts at          ~    is      Q Can you please turn to 211 I, Line 112. What
     i6   2108 and ends at 2126, the Iast page.                   !    16   is that RCT 15Q6P, foot puzsuit and Fourth Amendment.
     1~      A Okay.                                              ~    1~      A ThaYs a class about our foot pursuit
     i$      Q Does this appear to you to be a true and                18   policy.
     19   correct copy of your training history?                       i9      Q Is that required?
     20      A Yes. I should say this is everything after              z0      A I'm sure it was.
      1   the academy. This is what's listed in our online             zi      Q And whaYs in that class? Is it classroom?
     22   training record. The stuff that happens in the               zz      A It was probably online.
     z3   academy is probably not on this record.                      23      Q Page 21 t 8, 350 and 35 t, what aze those
     29      Q Okay. And then this looks like it's all the             z9   classes?
     25   way up to March 29th of 2018?                                25       A That's a fireanns qualification.


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      1      A Yes.                                                     z      Q So what is entailed in that?
      2      Q Who chooses what training you go through?                2      A Going to the range and shooting.
      3      A Some training courses are mandated by Nevada             3      Q Okay. So if you don't have a certain amount
      4   POST, Police Officer Standards and Training, the              4   of accuracy, you have to take it again?
      5   state. Some training courses are mandated by the              5      A Correct.
      6   department, and then some courses are electives.              6      Q Okay. There's a training on Page 2120, Line
      ~      Q Where it says on the first page, under Line              ~   427, excited delirium. Did Tashii show signs of
      g   17, "Biased-Based policing refresher," is that                B   excited delirium to you when you were on the scene?
      9   required?                                                     9      A I did believe that he was probably in a
     to      A Yes.                                                    10   state of excited delirium, yes.
     11      Q How often do you take that?                             11      Q What is excited delirium?
     1z      A I don't know.                                           ~2      A State of mental and physical, medical
     13      Q pkay. Going to 26 and 27, "PO critical                  13   distress, usually caused by illegal drug use.
     14   procedures," is that required?                               14   Involves high body temperature, usually causing some
     1s      A Yes.                                                    15   kind of brain, you know, cutting off oxygen to the
     16      Q How ofien do you take that?                        ;    i6   brain.
     17      A Quarterly.                                         '    i~      Q When did you fast believe that he may have
     18      Q Also going to 36, "PO critical procedures,"             18   e~chibited signs of excited delirium?
     i9   same questions, right, same --same class?                '   19      A I guess I almost assumed it as I pulled up
     2°      A Yes.                                               'I   zo   because if an officer's been in a fight with somebody
     21      Q Are they different classes?                        ~    z1   for that (ong, an officer that I thank is probably
     ?z      A So your critical procedures are in Section 6            22   pretty capable of taking somebody into custody, then
     z3   of our policy manual, so they will come up with new          23   I assume that they're at least on drugs, and then
     24   questions each quarter based on the policies that            2~   obviously that can lead to excited delirium. T guess
     z5   fall in our critical procedures policies.                    z5   I had zny suspicions as soon as I was arriving.



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      i      Q All right. You're subject, as an officer,               1   committed policy violations, they sustained me For
      z   to discipline if a suspect gets away after you have          z   those policy violations, and then they removed me
      3   tried to arrest them?                                        3   from my position.
      4      A Was the question -- I'm sorry.                          4      Q And so --
      5      Q Sorry.                                                  5      A As a result, which should normally be
      6      A I think I heard it.                                     6   discipline, they contend that it was not discipline.
             Q [f you're trying to arrest a suspect and he             ?      Q Why do they contend it's not discipline?
      e   gets away, are you subject to discipline?                    e      A My -- my theory?
      9      A No. If he was in handcuffs and got away,           j    9      Q Yeah.
     to   maybe, because you lost the handcuffs.                  i   to      A My estimation? Because if you -- if they
     z1      Q Page 2124, 2/12!2008, there's a line 560.              11   give me discipline, then I am allowed to grieve and
     lz      A Yes.                                                   12   arbitrate that discipline by contract. And if they
     13      Q It says, "Use-of-force issues and                      13   non-confirm me frorra my position, then it's their
     14   documentation, no-show, not attempted." Do you              14   position that I have no standing to flex that
     1s   recall why you didn't show up?                              15   position.
     z6          MR. MCNUTT: What line was that?                      16      Q I see. You considered it a demotion,
     i~          MK. LAGOIvIARSINO: Sorry. 560.                       17   correct?
     1B         ~. MCNiITT: 560. Thanks.                              1g      A Yes, sir.
     19   BY MR. LAGOIv1ARSINO:                                       19      Q So you consider it discipline?
     zo      Q ]~o you know why you no-showed that one?               20      A I do.
     2z      A I do not recall ten years ago whether I was            2~      Q Any other time when you've received a
     zz   a no-show. I'm sure that that was required, so          ~   z2   written reprimand?
     23   there's no way that I would still have been allowed     ~   23      A No.
     24   to keep working had it not been done, because there's   ~   24      Q Have you ever received a verbal reprimand?
     zs   no way that wasn't a required class.                    '   25      A I'm sure I have.

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      ~         .And I do remember, now that you mention it,           1      Q Have you ever been accused by a citizen of
      z   so right around the first of each year, POST checks          z   excessive force?
      3   and makes sure you've done ail your required                 3      A No.
      4   training. And 1 remember right after the first in            4      Q Did you take any steps to assess the scene
      5   2009, I got a letter from POST that said that I was          S   between the time you parked and the time you started
      6   deficient in my training. .4nd I knew that I wasn't.    (    6   physical contact with Tashii?
          And I called my sergeant at the time, and he said,      ~    '      A No.
      $   "Yeah, I just got the same letter. tt's not                  e      Q I may not have to show you the video, but --
      9   correct."                                                    9   so we referenced a video that Metro put out about the
     io         And there was a bunch of errors. And it               10   LVNR.
     11   got -- it all got worked out. So if that was during         11      A Yes.
     1z   2008, it's possible that was a part of it.                  ~2      Q A.nd when is the last time you saw that
     13      Q All right. Have you ever been disciplined              13   roughly?
     14   by Metro?                                                   14      A A year and a half ago.
     1S      A In my opinion oz Metro's opinion?                      ~S      Q 17o you remember the video, who put out --
     16      Q Let's go with same thing every lawyer says,        ~   16   who was in the video?
     17   both.                                                       17      A Vaguely.
     la      A Okay. Well, in this incident, Metro's              ~   18      Q All right. Maybe we should show it, well,
     19   opinion is that they did not discipline zne. In any         i9   on the next break. We're pretty much close to being
     20   opinion, T believe that they did discipline me.             20   doxie. I just have...
     21   Previous to this --                                         21         Here it says that officers can only use hand
     2z      Q Well, let me stop you there. What do you               22   strikes when a suspect is displaying aggressive
     23   base that on that Metro said they did not discipline        23   resistance.
     24   you?                                                    ~   24      A T remember reading that, yes.
     zs      A They sustained me for -- they alleged that I           25      Q Did you watch the video of Officer Lopera



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      1    striking Farmer?                                          1    most important reason.
              A Yes.                                                  2      Q What are the four physiological factors that
       3      Q Did you see Farmer trying to protect his              3   establish control for the LVNR?
       4   face from being hit?                                       4      A Four physiologic- -- aze you talking about,
       5      A I remember seeing him with his hands up.              5   like, the Valsalva maneuver, cazotid restraint --
       6      Q By his face?                                          6      Q Yeah.
       ~      A Yes.                                                  ~      A --vascular -- what is it, vascular
       $      Q When you watched the video, did you see               $   compression, then head placement.
       9   Tashii running from Lopera from inside the hotel to        9      Q Carotid compression?
     z0    outside the hotel and to the white truck?               10        A Carotid compression, vagus --
     11       A Yes. I mean, there's a period of time where        11        Q Yeah.
     1z    you don't see Farmer.                                   z2        A -- is that what that is?
     13       Q Right. Did you see Farmer by the white             13        Q Yeah.
     14    truck?                                                  14        A And venus compression.
     is       A Yes.                                               is        Q Okay. When somebody is rendered unconscious
     16       Q When you watched it, did you believe he was        '- 6   by the LVNR, when does the subject generally revive?
     17    trying to highjack or strike -- carjack the truck?      ~~        A I think it's within like 30 seconds or
     '-$         MR. MCNUT"1": Objection.                          18     something, a minute.
     19          MR. ANDERSON: Form.                               19            MR. LAGOMARSiNO: Lets just take a break.
     zo          THE WITNESS: From my perception?                  20     We'rejust going to show him the video, and then we
     21    BY MR. LAGOMARSINO:                                     21     don't have a lot of questions.
     z2       Q Right.                                             z2            THE VIDEOGRAPHER: We aze going off the
     z3       A I can tell you that when you watch Lopera's        23     record. The time is approximately 3:23 p.m.
     24    body camera, T can understand why he thought that       24            (Off the record.)
     25    that was what Farmer was trying to do. And then when    ~5            (Playing video.)


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      1    you take the high-level view from the Venetian           1           THE VIDEOGRAPHER: Standby, please. The
      Z    security camera on the corner, from there, I can tell    2     time is approximately 332 p.m. We are back on the
      3    that really Farmer touches that truck as he's looking    3     record.
      4    around to decide where he's going to run next or if      4     BY MR. LAGOIvIARSINO:
      5    he can run somewhere next. He is trying to make a        5        Q Officer Crumrine, during the break we were
      6    plan.                                                    6     playing this LVNR restraint video. Didn't --
      ~       Q Okay.                                               '     admittedly doesn't have any sound really playing.
      8       A So I don't know if that could have been part        8     Have you seen this before?
      9    of his plan, but 7 can tell a little better from that    9        A Yes.
     to    level that he is trying to make a plan.                 10        Q Do you know who that is?
     11       Q Sure. And -- but based on watching Lopera's        11        A That is Mike Bland.
     12    camera, did you feel, wow, looks like he is trying to   12        Q Okay.
     13    carjack that vehicle?                                   13        A B-L-A-N-D.
     19          MR. ANDERSON: Objection. Form.                    -q        Q He is the instructing on the LVNR?
     is          "I~ WITNESS: It would raise my suspicions         ?~        A Correct.
     16    if I was the officer in that position, yes, that that   16        Q Do you know if this video was produced
     17    might be a possibility.                                 17     before or after the Tashii incident?
     ig    BX MR. LAGOMARSINO:                                     18        A I believe [t was produced after.
     19       Q Okay. Tn viewing all the videos, did you           19        Q And how do you know that?
     z~    ever come to a conclusion that Lopera was acting in     2o        A [believe it was produced so that at the
     21    self-defense?                                           21     tactical review board we could demonstrate for the
     22        A No, not definitively, no.                         z?     citizens on the review board who aze not familiaz
     23       Q Why is it important to activate your body          23     with -- or maybe not familiaz with the LVNR what that
     24    camera?                                                 24     looks like.
     zs        A Because it's policy. Honestty, that's the         zs           MK. LAGOMARSINO: Okay. Then we will just



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     1      introduce it as Exhibit 12.                                      i   of times at this point -- but if an officer observed
     z            (Plaintiffs E~chibit No. 12 was                            2   another officer using force that's clearly beyond
     3             marked for identification.)                               3   objectively reasonable, egregious, outlandish, an
     4            MIt. LAGOMARSINO: I have no further                        4   officer must, when safe to do so, intervene to stop
     5      questions.                                                       5   that force being used and immediately report that to
     6            MTt. MCIVLJTT: At all or just on the video?                6   a supervisor.
     ~            1vZR. LAGOMARSINO: On the video. But I'll                  ~      Q Upon your arrival, dad you believe that
     8      probably have a couple follow-ups when you're done,     I        6   Officer Lopera was using unconstitutional force?
     9      but just to save some time.                             i        9      A No.
    to            MR. MCNUTT: Sure.                                 ~       10      Q Did you have any idea as to why he was even
    1i            MR. ANAERSON: Do you want to go, oz do you        ~       11   using force?
    12      want me to go?                                                  z2      A No.
    13            IviR. MCNUTT: Go ahead.                                   13      Q As a police officer, are you allowed to
    14                     EXAMINATION                                      14   assume that an officer bas acted pursuant to policy
    is      BY MR. ANDERSON:                                                1S   in the constitution prior to your arrival?
    16         Q pfficer Crumrine, when you arrived on the                  16      A Yes.
    1?      scene, what information did you have about what had             17      Q And did you do so in this case?
    ~$      occurred prior to arrival?                                      18      A Yes.
    19         A I had zero information.                                    19      Q Hypothetically, if you do see someone where
    20         Q When you arrive on a scene to a dynamic                    Zo   you believe intervention is necessary, how can an
    21      situation that is still active, such as the one you             21   officer intervene?
    22      encountered with Mr. Farmer and Officer Lopera, what            22      A Xou can intervene by -- verbally or with
    23      is your first priority?                                 ~       z3   physical actions oz both.
    24         A First priority is always life safety, which        ~       24      Q So is giving orders a form of intervention?
    25      in this instance would be take him into custody.                zs      A Yes.

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       1       Q So your fizst pziorfty upon arriving would                  1     Q When you arrived in this case, did you give
        2   be to do what?                                                   Z   orders to Officer Lopera?
        3      A Place Tashii Farmer in handcuffs.                           3     A I dad.
        ~      Q When you arrive on a scene such as this,                    9     Q And what were those orders?
        5   would you ever stop and ask the officer questions or             5     A "T.et go. Let him go."
        6   find out why he had ended up on the ground at that               6     Q And what did you mean by that?
        ~   point?                                                           '     A I wanted him to relax the hold and help roll
        e      A No.                                                         e   him over to effectuate handcuffing.
        9      Q When would you ask those questions?                         9     Q And so did you give Officer Lopera orders to
     '- ~      A After the scene was static, safe.                          10   reduce the amount of pressure he was applying to
     ii        Q Is that pursuant to your training and LVMPD                11   Mr. Farmer's neck, if he was applying any?
     i~     policies?                                                       1z     A Yes.
     13        A Yes.                                                       13     Q Could you tell from where you were at if any
     14        Q In your opinion, is it a legitimate law                    14   pressure was being applied to Mr. Farmer's neck?
     1'     enforcement task to effectuate handcuffing before you           1S     A No.
     1s     investigate what happened?                                  I   i6      Q Would you ever be able to tell that during
     17        A Yes.                                                   I   17   the dynamic situation?
     i$        Q Are you trained by the Las Vegas                           18     A No.
     is     Metropolitan Police Department in the duty to                   19      Q So when you told Officer Lopera to let go,
     Zo     intervene?                                                      20   what would you want him to do at that point?
     z1        A Yes.                                                       z1     A I would want him to maintain control over
     22        Q What does that mean to you, duty to                        ZZ   the -- help me maintain control over Farmer and roll
     23     intervene?                                                  ~   23   over as we're all trained to do, roll him over so we
        4      A That means -- I'm going to wind up                     ;   z4   can get the handcuffs on.
     zs     p~aphrasing the policy, because I've read it a ton          ~   25     Q Would Officer Lopera keep his arms in a



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      1   location that they were in when you arrived?                     1      A Not really.
      2     A Yes.                                                         2       Q When you arrived, was it your perception
      3      Q Okay. So you'd still expect him to have an                  3    that Mr. Fanner was resisting?
      4   azm or a foreann in the neck area?                               `~      A Yes.
      5      A Correct.                                                    5       Q During the time that you were assisting with
      6      Q Just not applying pressure?                                  6   the handcuffing, did you believe that Ms. Farmer was
      ~      A Correct.                                                    ~    resisting?
      8      Q When you arrived, did you spend any time                    $       A Yes.
      9   watching Officer Lopera and Mr. Farmer or did you                 9         MR. ANDERSON: That's all I have.
     io   immediately become engaged?                                     10                   EXAMINATION
     it      A I immediately became engaged.                     i        11    BY MR. MCNUT"C:
     12      Q And that was to assist with handcuffing?                   1z       Q Officer Crumrine, Dan McNutt on behalf of
     13      A Yes.                                                       i3    Ken Lopera. We met at the last deposition.
     14      Q I-Iad you ever met Fanner before?                 'i       i4       A Xes, sir.
     is      A No.                                                i       ~s       Q Thanks for your time today. I just have,
     i6      Q Did you have any reason to dislike                         16    well, maybe a little more than Craig did, but just a
     l~   Mr. Farmer?                                                     17    few questions.
     la      A No.                                                        18          Can you describe forme what your
     19      Q Did you have any desire to cause Mr. Farmer                19    understanding of excited delirium is?
     20   any pain or injury?                                             z0       A An acute mental and physical medical
     21      A No.                                                        ?'-   condition that is contrib- -- has contributing
     22      Q Did you ever hit Mr. Farmer?                               22    factors of illegal drug use, raised heart rate, f st.
     23      A No.                                                        z3    breathing, elevated body temperature and --yeah.
     Z4      Q Did you ever kick Mr. Fanner?                              24       Q Okay. Is being under the influence of a
     25      A No.                                                        25    controlled substance a crime in Nevada?


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     1       Q Did you ever throw any punches?                             1       A Yes.
     z       A No.                                                         z      Q Is trespassing a crime in Nevada?
     3       Q What was all the force you used against                     3       A Yes.
     4    Mr. Farmer?                                                      4       Q Ts carjacking a crime in Nevada?
     5       A Empry hand tactics, specifically handcuffs.        ,        5       A Yes.
     6       Q Okay. So all the force you used was                !        6       Q And resisting arrest is a crime in Nevada?
          specifically designed to handcuff him?                  ~        ~       A Yes.
      $      A Correct.                                                    8       Q You talked eazlier about Officer Lopera's
      9      Q Was that pursuant to L~VMPD policy and                ~     9    perspective as he was pursuing Tashii Farmer with --
     io   procedure?                                                 ~    10    relative to the carjacking versus the overhead
     it      A Yes.                                                  ~    11    Venetian camera view and kind of the after-action
     12      Q Is that con- -- is what you did considered            i    12    review or analysis of what Mr. Farmer may or may not
     13   minimal force or intermediate force?                       ~    13    have been doing.
     14      A Low-level force, yes.                                      in          Had Mr. Fanner survived this incident and
     is      Q Now, when you gave Officer Lopera the order                is    Officer -- could Officer Lopera have charged him with
     1~   to loosen up, did you have any reason to expect that        ~   zs    carjacking based on his perceptions of the incident?
     ~~   he would not follow that order?                             j   17       A Possibly.
     18      A No.                                                    I   le       Q Okay. You talked a little bit about laser
     19      Q Had you ever had any problems with Offrcer             ~   19    policy with Mr. Lagomarsino. And I think you said
     2°   Lopera in the past not following your orders?               i   2~    something along the lines of Metro's policy is after
     21      A No.                                                    ~   21    three laser cycles, the officer is encouraged or
     22      Q Is there any situation you can think of                ~   22    should consider another use-of-force option. Is that
     23   where you would stop assisting with handcuffing and             23    accurate?
     24   check the pressure being applied to someone's neck              z4       A Xes.
     zs   before handcuffing is complete?                                 25       Q But there aze c#rcuznstances where -- well,



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      1   question: Ase there circumstances where an officer            z             MR. LAGOMARSINO: Objection. Form.
      2   is allowed to use the taser for more than three               2       Foundation.
      3   cycles?                                                       3             THE WITNESS: Sorry. Tam.
      ~      A Yes.                                                     4       BY MR. MCNtJTT:
      5      Q And is one of those instances when the                   S         Q And how did you come to that knowledge?
      6   officer is -- the arresting officer is alone?            ~    6         A From the CTRT report at the tactical review
      7      A Yes.                                                ~    7       board.
      $      Q What are the other considerations, if any,          i    g         Q Go to Page 2077 of that document.
      9   that an officer can have to use the trier mote than           9         A Okay.
     io   three times?                                                 10         Q Have you ever seen this toxicology testing
     11      A Potential for injury to the suspect,                    11       before?
     12   potential for injury to citizens in the area,                12         A Yes.
     i3   potential for injury to the officer, if you were to          =3         Q And do you see where it says "amphetamine
     14   transition. Gosh, there could be a ton of things.            14       and methamphetarnine," the results are positive?
     is      Q Okay. If one of your officers believes ox               15          A Yes.
     1s   any Metro officer believes that a suspect is under           i6         Q And does that also inform your opinion that
     l~   the influence of a controlled substance, is that          i 1~        Mr. Farmer was under the influence of amphetamines
     ~$   off- -- is that officer authorized to stop that           I i$        and methamphetamines?
     19   individual?                                               ~ 19              MR. LAGOMARSINO: Form. Foundation.
     20      A Yes.                                                  ( 20             THE WITNESS: Yes. I actually also saw a
     2z      Q If the -- if one of your officers or any                21       different version of this graph that also included
     2z   Metro officer viewed a suspect running, fleeing from         ~~       that -- the baseline for meth intoxication is 600
     23   the police and running into a restricted area inside         z3       nanograms per millileter of --
     24   a casino, would that officer be authorized to pursue         24             MR. MCNUTT: Okay.
     25   that suspect?                                                25             THE WITNESS: -- methamphetamine.


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      ~      A Yes.                                                         1   BY MR. MCMJTT:
      2      Q Should that officer pursue that suspect?            i        z      Q Thank you. And that evidence would be
      3      A Generally speaking, I would expect that             j        3   enou;h to charge Mr. Farmer with a crime, correct?
      4   officer to pursue that suspect,                          I        4      A Yes.
      5      Q So if you go to what has been previously                     5         MR. LAGOMAR31N0: Belated objection. Form.
      6   marked as E~chibit 4, which is the Force Investigative            6   Foundation.
      ~   Team Report, starts at LVMPD 2058.                                ~         THE WITNESS: Sorry.
      8      A Yes.                                                         8         MR. LAGOMt1RSIN0: That's my bad.
      9      Q And ifyou go to LVMT'D 2090, which is 33 of                  9         MK. IvICNIJTT: Overruled.
     io   35.                                                              to         MK. LAGOMAILSINO: Xou don't even have a
     ii      A yes.                                                        i~   black robe on. I-Iow do you have the fever?
     12      Q So if you go down to the second number 1 at                 12         MR. MCNUTT: True.
     13   the bottom half of the page, it says: "The severity              13   BX MR. MCNU'CT:
     14   of the crimes at issue.° It says: "There was no                  14      Q Go to LVMPD 2091, please.
     1'   crime cozrunitted at the onset of the incident or when           is      A Okay.
     i6   Officer Lopera engaged in the foot pursuit."                     i6      Q At the second paragraph up from the bottom
     17         Do you agree with that statement?                          i~   is where you read earlier with Mr. Lagomarsino
     1e      A No.                                                         ig   that -- what the LVNIPD policy states with respect to
     19      Q Why not?                                                    19   afoot pursuit. Do you see that?
     20      A I believe that there was at least                           z0      A Yes.
     21   trespassing.                                                     2~      Q So based upon this policy, would it be --
     22      Q And aze you aware now that Ken -- or excuse             ~   z2   would an officer be authorized to pursue Mr. Farmer
     23   me, Tashii Farmer was under the influence of a               ~   ~3   since he was under the influence of a controlled
     24   control substance?                                           I   Z4   substance?
     25      A Yes.                                                    ~   25      A Yes.



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      1           MIL LAGOMARSINO: Objection. Forrn                    1        Q Arzd that's -- is that how the LVNR is taught
      2     foundation.                                                 2   to be applied?
      3           THE WITNESS: Yes.                                     3       A Correct.
      4     BY MR. MCNUT"I':                                            ~       Q That's where the encircling arm is supposed
      5        Q And separately, would he be authorized to              5   to be?
      6     pursue Mr. Farmer when he was running into a                6       A Correct.
      ~     restricted azea?                                            ~       Q And then at some point, you said, "Let him
      $        A Yes.                                                   8   go, Ken"?
      9        Q Lees talk a little bit about Metro's policy            9       A Yes.
     to     relative to using an LVNR and then handcuffing the       10         Q Do you know if Ken Lopera heard you say that
     it     suspect upon which the LVNR is being used. Is it         i~     or not given the scuffle and the background noise?
     1~     Ivletro's policy that the LVNR position, meaning the     12         A I don't.
     13     hand position that Officer Lopera had, be maintained     13         Q Okay. 1'ou never talked to him afterwards or
     ~4     while the suspect is being handcuffed?                   14     things along that ►ine?
     is        A Be maintained while the suspect --                  15         A No.
     1s        Q So, for example, let me ask a better                16            MR. NICNtJTT: You want to switch me places,
     17     question. While you and Ken Lopera were attempting       17     Craig.
     ~e     to handcuffTashii Farmer, should Officer Lopera have     '- $          Andre, I'zn going to show him the body
     19     kept his encircling arm around Tashii Farmer's neck      19     camera. I don`t need to have that on video, sojust
     20     in the LVNR position?                                    z0     in terms of you to see it.
     ~l        A I expect him to maintain that position while        Zi     BY MR. MCNTJTT:
     22     we aze rolling Tashii Farmex over until he can safely    22         Q Officer Crumrine, T'm going to show you what
     23     break away. Once Farmer goes to the ground face          23      I've got on my screen is the -- and I will represent
     24     down, then he is going to break away. He is going to     z4     to you that this is T{en Lopera's body-worn camera
     zs     maintain that position until that time.                  25     that's been produced in this litigation. And what


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       1       Q Okay. And there may or may not be pressure           1     we've got, it's not running right now, but you have
        2   applied to the neck during that period of time,           2     got the initial frame. I-[ave you seen this video
        3   correct?                                                  3     before?
        4      A Correct.                                             4        A Yes.
        5      Q When you came up to Tashii Fazmer and Ken            5        Q And do you recognize this as being the video
        6   Lopera, I think you described, you said, when you         6     that you watched that you referenced earlier?
        ~   exited your vehicle and ran towards them, you saw the     ~        A Yes.
        8   back of ICen Lopera's uniform and the back of his feet    $        Q So I'm going to play the video, and I will
        9   because he was still, I guess, on his knees?              9     have a few questions for you. Let's see if I've got
     to        p yew,                                                to     the sound on.
     il        Q And then he attempted or -- to put on the           li            (Flaying video.)
     iz     L~R?                                                     12            THE WITNESS: It's not going to come up for
     13        A Correct.                                            13     30 seconds.
     14        Q Okay. And slid around. And you said                 14     BY MR. MCNUTT:
     1=     that -- I think you identified the fact that your        15        Q Okay. And why will the sound not come up
     16     perception was it was an L'VNR because you saw the       16     for 30 seconds?
     17     position of the encircling arm?                          17        A When the officer activates their body-worn
     '- e      A Yes.                                                18     camera to start recording, you get the 30 seconds
     '- 9      Q And what -- describe for me the position of         19     before that press of the activation without audio.
     20     the encircling arm that Officer Lopera had on the        20        Q Okay.
     21     suspect and why that was an LVNR in your opinion.        21        A So whenever you heaz the audio start, that's
     22        A Just like 7 said, based on the position of          22     when the officer actually pushed then button to
     ~3     the front encircling ann, that his chin was in           23     start their recording.
     24     line with -- Farmer's chin was in line with Lopera's     24        Q Okay. Now, do you see this spot right here
     25     elbow.                                                   zs     where it says "caution" and there's some chain link



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      1   blocking off a section of the Venetian?                       1      A No, sir.
      z     A Yes.                                                      z      Q So even though Tashii Farmer is saying that
      3     Q And do you recognize that as being the doors              3   he will comply, is it your perception that he is
      4   here to be back of the house?                                 4   complying?
      5     A Yes.                                                      S      A No.
      6     Q And would it be your understanding that                   6      Q At any point there, did you see that the
      ~   Tashii Farmer was authorized to be in that area?              ~   suspect, Tashii Farmer, was complying with the verbal
      e     A No.                                                       8   commands being given?
      9     Q Do you think Officer Lopera should have                   9      A Other than get on the ground and he is on
     1o   pursued him through the back of the house?                   1°   the ground, no.
     i1     A Yes.                                                     11      Q Now, you described Tashii Fazmez as having
     1z     Q Wejust saw Offacer Lopera wipe out in the                72   what level of resistance?
     13   sudsy water?                                                 13      A He goes back and forth between passive and
     14     A Yes.                                                     14   active, for the most part.
     1s     Q I'm going to fast forward this so we don't               1~      Q And whaYs the difference between passive
     16   have to watch him run through the whole Venetian.            16   and active?
     17         So now outside the Venetian, do you                    1~      A Xour attempts to --passive is more your
     1B   recognize that?                                              18   attempt -- you're just trying to not get arrested,
     19     A Xes.                                                     19   trying to get away. The active, where you're
     2~      Q That was Officer Lopera giving him verbal          i    70   actively resisting being placed into custody.
     21   commands, correct?                                      ~    21      Q Okay. And what's the next level after that?
     ZZ     A Correct.                                            ',   z2      A Aggravated -- or I'm sorry, aggressive.
     23      Q Did the suspect comply with those verbal            j   23      Q And what's the definitions of -- of
     z4   commands?                                                ~   24   aggressive resistance?
     25      A No.                                                     25      A Showing an attempt to harm an officer.


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      1      Q Is it Las Vegas Metro policy to inform a                 1      Q Okay. At any point so far, and we're at
      z   suspect that if he doesn't comply, he could be tared?         2   225 in the video, have you seen any aggressive
      3      A If you have the time to do so, yes.                      3   resistance?
      4      Q And did Officer Lopera comply with that                  4      A I don't believe so.
      5   policy?                                                       5      Q Let me know if, at any point, you see any
      6      A He did.                                                  6   aggressive resistance.
      ~      Q So Officer Lopera has told the suspect not               '          At any point through there, did you see any
      $   to move. Is the suspect complying with that?                  8   aggressive resistance?
      9      A No.                                                      9      A I think -- can you back it up again?
     to      Q How can you tell with that?                             10      Q X can.
     11      A He sits up.                                             1i          Did you hear that?
     12      Q So he gave him the verbal command to get on             ?z      A Right in there, he took a swing at him.
     13   his stomach, and Tashii Farmer said he would, "I             13   Sorry, Farmer took a swing at Lopera.
     14   will, I will." But does he do that?                          14      Q Okay. Would that constitute aggressive
     1s      A No.                                                     15   resistance in youz opinion?
     16      Q In your opinion, does Tashii Farmer have                16      A That would be aggressive resistance.
     17   time to comply with Officer Lopera's commands?               17      Q Now, at this point, have you arrived, do you
     16      A I've seen people comply in that amount of               z8   know?
     19   tzme, yes. So yes.                                           19      A No, I have not arrived yet.
     Zo      Q And this is at a period when Tashii Farmer              Zo      Q Let me -- we're just going to continue to
     21   is not under the influence of NMT or neuromuscular           2z   watch. You tell me when you have arrived, if you can
     22   incapacitation?                                              22   tell from this body-wom camera angle. And if you
     23      A I don't believe he is, because he is moving.            23   can't tell, that's fine, because we have the other
     24      Q Is he complying there when he says get on               2d   videos that we can tell.
     25   his stomach?                                             (   25          By the way, have you heazd any other voices



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      1   in this video other than Tashii Farmer and Ken                1   the influence of methamphetamines that they were
      2   Lopera?                                                       2   under the influence of the illegal methamphetamine
      3      A Yeah. You can hear those security wazds.                 3   rather than the legal methamphetamine?
      4      Q Okay.                                                    4         MR. MCNUTT: Objection. Form.
      5         MR. LAGOIv1ARSIN0: I'm going to rehun the               5         'T'I~ WI'T`NESS: t guess I world want to
      6   favor. When you heazd Lopera say, "Help me ouE                6   consult with a DRE or maybe a doctor to find out how
      ~   here," is it your understanding that he is talking to         ~   many Vicks inhalers you would need to get to that
      e   the security guazds?                                          8   level of toxicology or that toxicity or whatever you
      9         T'HE WITNESS: Xes.                                      9   want to call it.
     to   BY MR. MCNtJTT:                                              io   BY M.R. LAGOMARSINO:
     1t      Q We're paused at 2:45 just because of the                i1      Q So based on the toxicology report alone, you
     1z   question from Ntr. Lagomazsino. Do you know, have any        12   would not be able to sustain or have a criminal
     13   idea who these other hands that we're seeing here       I    13   conviction without further testing; is that true?
     14   are?                                                         14         MR. M('i~IIJTT: Objection. Form.
     15      A Tt has to be the two security guards.                   15         TT-IE WITNESS: Since you -- the first T'm
     i6      Q Two security guards. Because you were the          ~    i6   hearing of this, I guess I would find it
     i'   first Metro officer on the scene to support Officer          z7   unreasonable -- I mean, I don't know all the
     iB   Lopera, right?                                          ~    1g   intricate dealings of the FDA, but unreasonable that
     19      A Correct.                                           ~    19   they would approve a Vicks inhaler for
     ~~      Q Do you believe that officer -- excuse me, do       j    ~~   over-the-counter use if you could get 55 pezcent
     21   you believe Tashii Farmer is resisting at this point?   ~    ?~   above the baseline for meth intoxication by using
     22      A Yes.                                                    22   them.
     23         That's me. I'm here.                              '~   23   BY MIZ. LAGOMARSINO:
     24      Q Okay. 5o that's you, and you're there               j   24      Q Okay.
     z5   somewhere mound the three-minute mark on that video.    (    25      A Just, like, by a reasonable officer or

                                                  Page 179        j                                                Page 181
      i         MR. MCNUTT: I have no further questions.                i   detective standards, I guess.
      2         MTt. LAGOMARSINO: Can we take a quick break.      ~     z      Q Are you awaze that D-methamphetamine is used
      3         Tf-IE VIDEOGRAPHER: We aze going off the          i     3   as a prescription stimulant and appetite suppressant?
      4   record. The time is approximately 3:56 p.m.             ~     ~      A Yeah, I think I've heard that. Like the old
      5         (Off the record.)                                 ;     5   diet pills, right?
      6         THE VIDEOGRAPHER: The time is apprmcimately       '     6      Q Okay. So you'd want to know whether, again,
          4:00 p.m. We are back on the record.                    I     ~   whether he was taking either diet pills or cold
      e              FURTI-TER B3CAMINATION                       ~     B   medicine to determine whether it would be illegal or
      9   BY MR. LAGOMARSINO:                                     ~     9   legal methamphetamine, correct?
     to      Q you were asked some questions about the                 to      A Yes.
     ii   toxicology results. Do you recall those questions?           iz      Q A.nd you would have to know that before you'd
     lz      A Yes.                                                    12   make a determination to initiate a criminal
     13      Q Are you aware that there aze different kinds            13   complaint, correct?
     14   of methamphetamines?                                         14      A Yeah. I guess I'd have to consult with
     is      A I guess I'm aware that there are different              1i   someone who had the necessary information to make
     ~6   kinds of amphetamines, I suppose, yes.                       16   that decision.
     i~      Q Are you awaze of something called the                   17         MR. LAGOMARSINO: T have no further
     18   L-methamphetamine?                                           18   questions.
     i9      A No.                                                     19                FURTHER EXAMINATION
     zo      Q ~e you aware that L-methamphetamine is                  Zo   BY MR. MCNUTT:
     21   available over the counter as the active ingredient          z1      Q Let me follow up. Are you awaze of -- do
     2z   in the Vicks inhaler?                                        22   you know who Dr. Olson is? Do you know that name?
     z3      A No.                                                     z3      A No.
     24      Q Would you want to know before you made a                24      Q She was the coroner at the time.
     zs   decision whether to chazge somebody with being under         z5      A Okay.



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                               * * *Videotaped Deposition * * ~
                                                                                               47 (Pages 182 to 185)
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     i           Q Are you aware that she said that significant              i             CERTIFICATE OF DEPONENT
     z        factors involved in Tashii Fazmcr's death included             Z   PAGE LINE CHANGE              REASON
      3       methamphetamine intoxication and an enlarged heart?            3
      9          A Yes.                                                      9
      s             MR. MCNUTT: Okay. No fiarther questions.                 5
      6                  FURTHER EXAMINATION                                 6
              BY MR. LAGOMARSINO:                                            ~
      a          Q Do you think that Tashii Farmer would have                8
      9       just spontaneously collapsed had he not been placed   j        s
                                                                            10
     io       in a neck restraint?                                          ii
     ii             MR. ~\NDERSON: Objection. Form.                         lZ
     iz             MR. MCNUTT: Objection. Form.                            13
     13             T'HE WITNESS: Yes, I think it's possible.               19
     14             MR. LAGOMARSINO: Okay. All right. No                    Is
     SS       further questions.                                            ~s        1, OFFICER TRAVIS CRUMRINE, deponent herein,
     16            THE VIDEOGRAPHER: This concludes the video               i~   do hereby certify and declaze that the within and
     17       deposition of Travis C1'umrine.                       (       ~s   foregoing transcription to be my deposition in said
     is            The original media of today's testimony will     i       ~s   action; that I have read, corrected, and do hereby
     19       remain in the custody of Las Vegas Legal Video.               zo   affix my signature co said deposition.
     zo            The time is approximately 4:04 p.m., and we      ~       zz
     zi       are going off the record.                             i       zz
     22            THE REPORTER: Counsel, copy?                     !       zs
     23            MR. ANDERSON: I do, yeah.                            ~                   OFFICER TRAVIS CRUMRINE
     24            MR. MCNU7"f: I do.                                   I   24
     25            THE REPORTER: What form of transcript?               i   zs


                                                        Page 183                                                                      Page 185

      i                                                                      -           CERTIFICATE OF REPORTER
                      MR. ANDERSON: Regular, mini.                           z
      z               MR. MCNUT"T: Regular and mini, PDF                         STATE OFI3EVAllA)
                                                                             3          ) ss:
          3           (Thereupon, the videotaped deposition                      COUNTY OF CLARK )
          n            was concluded at 4:04 p.m.)                           a
          5                                                                  5         I, Sazah Safier, CCR No. 808, do thereby
                                                                                 certify: That I reported ilte deposition of OFFICER
          6                                                                  6   TRAVIS CRUMEtINE, commencing on Monday,
      7                                                                          December 10, 2018, at 10:09 a.m.
                                                                                       That prior to being deposed, the witness was
          8                                                                      duty sworn by me to testify to the wth. That t
          9                                                                  e   therea$er hanscribed my said shorthand notes into
                                                                                 typewriting and that the typewritten transcript is a
     10                                                                      9   complete, true, and accurate hanscription of my said
     11                                                                          shorthand notes. That prior to the conclusion of the
                                                                            io   proceedings, pursuant to MRCP 30(e), the reading and
     12                                                                          signing of the hanscript waz requested by the
     13                                                                     ii   witness or a party.
                                                                                       1 further certify that I am not a relative
     14                                                                     1z   or employee of counsel of any of the parties, nor a
     15                                                                          relative or employee of the parties invoh~ed in said
                                                                            13   action, nor a person financially interested in the
     16                                                                          action.
     17                                                                     i^         IN V✓I7NESS Wf ~REOF, I have set my hand in my
                                                                                 office in the County of Cluk, State of Nevada, this
     18                                                                     is   24th day of December, 2018.
                                                                            I6
     19                                                                     ii
     20
     21                                                                     ie              Sarah Safier, CCK No. 808
                                                                            19
     ZZ                                                                     zo
     23                                                                     Zi
                                                                            zz
     24                                                                     23
                                                                            27
     Z5
                                                                            zs




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